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14
15                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
16                                      SAN FRANCISCO DIVISION
                                                     Case No. 3:23-cv-00243-AMO
17   CEDRIC DE LISSER, CHRISTOPHER
18   MOSER, and MICHAEL MICHELIN, in their            SECOND AMENDED COMPLAINT
     capacity as the Trustees of Cred Liquidation     FOR:
19   Trust,
                        Plaintiffs,                   (1) FRAUDULENT
20           v.                                           MISREPRESENTATION
                                                      (2) FRAUD IN THE INDUCEMENT
21   LOCKTON COMPANIES LLC, d/b/a                     (3) NEGLIGENT
     LOCKTON INSURANCE BROKERS, LLC, a                    MISREPRESENTATION
22   Missouri limited liability company; LOCKTON      (4) INTENTIONAL CONCEALMENT
     COMPANIES, LLC - PACIFIC SERIES, d/b/a           (5) AIDING AND ABETTING
23                                                        FRAUDULENT
     LOCKTON INSURANCE BROKERS, LLC, a
     Missouri limited liability company; and DOES 1-      MISREPRESENTATION
24                                                    (6) AIDING AND ABETTING
     10, inclusive.
25                                                           NEGLIGENT
                                                             MISREPRESENTATION
                       Defendants.                       (7) AIDING AND ABETTING
26
                                                             VIOLATIONS OF CALIFORNIA
27                                                           BUSINESS AND PROFESSIONS
                                                            CODE SECTION 17200 ET. SEQ.
28
                                                         DEMAND FOR JURY TRIAL


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 1                                  SECOND AMENDED COMPLAINT
 2           The trustees of The Cred Inc. Liquidation Trust (the “Trust”),1 Cedric de Lisser, Christopher
 3   Moser, and Michael Michelin, (“Trustees” or “Plaintiffs”), as assignee of certain claims from
 4   CredEarn customers (the “Trust Assignors”), by and through their undersigned counsel, allege against
 5   Lockton Companies LLC d/b/a Lockton Insurance Brokers, LLC and Lockton Companies, LLC -
 6   Pacific Series dba Lockton Insurance Brokers, LLC (together “Lockton”) as follows:
 7                                             INTRODUCTION
 8          1.      Lu Hua and Daniel Schatt were the founders and directors of Cred, Inc., a
 9   cryptocurrency2 company that was based in San Mateo, California. Schatt was also Cred’s CEO. With
10   Schatt at the helm, Cred sought to raise crypto for a yield-earning program called CredEarn in which
11   customers lent their crypto to Cred.
12          2.      Lockton, which is the world’s largest independent insurance brokerage firm and a self-
13   proclaimed crypto insurance expert, willingly helped promote the CredEarn program to customers.
14   Lockton and Cred jointly drafted false and misleading representations that claimed that Cred and its
15   CredEarn customers were fully insured for losses. These deceptive representations convinced
16   customers that their crypto loans were protected by insurance. Cred lured customers into the CredEarn
17   program with these egregiously false promises.
18          3.      The CredEarn program allowed customers to earn a return on their crypto by lending
19   their crypto to Cred for a fixed period. Cred would then convert the crypto into fiat currency (i.e., a
20   government-issued currency) and attempt to invest the funds at a higher rate of interest than it was
21   required to pay the CredEarn customers. At the end of the lending term, Cred would repurchase the
22
23
     1
       The Trust was established in accordance with the First Amended Combined Joint Plan of Liquidation
24
     and Disclosure Statement of Cred Inc. and its Subsidiaries Under Chapter 11 of the Bankruptcy Code,
25   the Liquidation Trust Agreement, and the Confirmation Order.
26   2
       The term “cryptocurrency” refers to a digital asset on a blockchain, including assets sometimes
27   referred to as “cryptocurrencies,” “virtual currencies,” “digital assets,” “coins,” and “tokens.”
     Cryptocurrencies are digital assets that hold value based primarily on what a purchaser is willing to
28   pay. Bitcoin and Ethereum are the most popular cryptocurrencies, but there are many others.


                                                           1
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 1   crypto3 and return it to the customer along with the interest earned. Cred’s customers’ crypto loans
 2   were unsecured loans to Cred.
 3            4.      Cred understood that customers would be hesitant to enter into the CredEarn program
 4   since unsecured loans to a new and untested company were risky. To solve this problem, Schatt and
 5   others at Cred used Lockton, an enthusiastic partner, to hype the program through false assurances that
 6   would induce participants into joining the program. Cred and Lockton—which agreed to make sure the
 7   insurance coverage description was accurate—crafted a public statement that falsely represented that
 8   Cred was comprehensively insured for Cred’s and its customers’ losses. Lockton knew these
 9   representations would be posted on or linked to Cred’s website, sent directly to potential customers,
10   disseminated on the internet, and used or distributed in other ways that customers could see them. But
11   contrary to these fraudulent statements, Cred’s insurance clearly did not cover CredEarn customers’
12   losses or the vast majority of the losses that led to Cred’s downfall.
13            5.      Lockton’s work on the misstatements began in the spring of 2019. Schatt worked
14   primarily with Jeff Koo of Lockton, who was based in California, to “craft a public-facing 1-3
15   paragraphs on [Cred’s] website” relating to Cred’s insurance coverage. These Lockton/Cred joint
16   statements, misleadingly titled “Going Above and Beyond,” falsely claimed that Cred had
17   “comprehensive insurance” that it had acquired through Lockton. Lockton and Cred also wrongly
18   claimed that Cred had insurance “for a service that [Cred] failed to provide” or if the CredEarn program
19   “did not have the promised results.” Lockton and Cred further falsely claimed that Cred was insured
20   for “the borrowing of crypto from a client related to the terms and conditions of a Cred Agreement,”
21   and that customers would be “made whole” in the event of a loss. Lockton allowed its name and well-
22   known brand to feature prominently in these public and blatant misrepresentations about Cred’s
23   insurance.
24            6.      Lockton and Cred both knew that none of the insurance representations were true. For
25   example, Cred had just a minimal errors and omissions policy, which was grossly inadequate in size,
26   and which had exclusions that excepted coverage for CredEarn losses. Cred’s other policies, including
27   its cyber policy, similarly did not insure against the losses suffered by CredEarn customers and covered
28
     3
         Cred retained some crypto, and on occasion, would use crypto on hand to return to customers.

                                                          2
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 1   little, if any, of Cred’s other losses. Likewise, Cred’s directors’ and officers’ policy had blanket
 2   exclusions for crypto, among other exclusions.
 3             7.      Nevertheless, Lockton helped Cred draft these false joint statements knowing and
 4   expecting that customers would rely on them. The claims in the Lockton/Cred statements, backed
 5   prominently by the Lockton logo and words that touted Lockton’s industry-leading reputation, were
 6   published on Cred’s website, copied in statements Cred made directly to customers, and distributed
 7   elsewhere. Cred consistently directed customers to view the false statements, including using what Cred
 8   and Lockton had prepared as a stock response that its sales personnel or agents sent to potential
 9   customers who asked about Cred’s insurance.
10             8.      The Trust Assignors are customers of Cred who loaned funds through CredEarn. They
11   assigned their claims against Lockton to the Trust so that the Trust may pursue them on behalf of all
12   creditors of Cred. Each of the Trust Assignors reasonably relied on information in the Lockton/Cred
13   representations. They read the Cred/Lockton statements on a website that was linked to Cred’s website,
14   reviewed the Cred/Lockton “Going Above and Beyond” post on Cred’s website, and read business
15   articles and blogs that repeated the false statements. In addition, they received emails from Cred
16   emphasizing the fraudulent statements, and some of them spoke to Cred employees (including in some
17   instances, Schatt, the CEO) who reinforced the statements. Each of the Trust Assignors would not have
18   entered into the CredEarn program if he or she had not been assured through the joint Lockton/Cred
19   statements that Cred had insurance that covered Cred’s losses and their customer losses.4
20             9.      Lockton owed a duty to Cred’s customers both because it had a duty not to issue false
21   statements and/or to correct misstatements issued under its auspices, and because it was foreseeable
22   that customers would rely on Lockton as an expert in crypto insurance. As a result of the false and
23   deceptive representations about insurance co-authored by Lockton, customers loaned over $280 million
24   to Cred through the CredEarn program. The Trust Assignors have claims against the now-bankrupt
25   Cred for more than $66 million in losses.
26
27
28   4
         This includes the Trust Assignors’ increases to their initial loans and rollovers.


                                                            3
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 1          10.     Cred, and ultimately its customers, suffered massive losses caused by events that were
 2   not, contrary to the promises in the Lockton/Cred Statements, covered by insurance. Losses arose from
 3   Cred’s investments (made with crypto loan proceeds) that were tainted by officer’s self-interest, if not
 4   fraud, and some of Cred’s crypto mysteriously disappeared, among other causes of losses. Cred never
 5   returned over $165 million worth5 of CredEarn customers’ crypto to the customers, nor did Cred return
 6   the interest they earned. Contrary to the false assurances by Lockton and Cred, customers were not
 7   protected by insurance. Cred’s supposed “comprehensive insurance” relating to the “borrowing of
 8   crypto” was wholly illusory.
 9          11.     In sum, Lockton’s and Cred’s joint false assurances led to massive inflows of customer
10   capital, but Cred had no way of repaying the customer loans once Cred collapsed. The joint
11   Lockton/Cred statements had promised that “If the worst happens and Cred loses customer funds,
12   customers deserve certainty that they will be made whole.” In the end, the “worst” did happen: Cred
13   filed for Chapter 11 bankruptcy on November 7, 2020, leaving the Trust Assignors empty handed.
14   Meanwhile, while the joint Lockton/Cred statements caused CredEarn customers massive harm,
15   Lockton profited from the premiums on the insurance it sold Cred and Cred’s insiders profited
16   personally from the fraud.
17          12.     The Trustees seek to recover from Lockton over $66 million in damages by asserting
18   claims for fraudulent misrepresentation, fraud in the inducement, negligent misrepresentation,
19   intentional concealment, aiding and abetting fraudulent misrepresentation, aiding and abetting
20   negligent misrepresentation, and aiding and abetting violations of California’s Unfair Competition
21   Law.
22                                                 PARTIES
23          13.     Plaintiffs are Cedric de Lisser, Christopher Moser, and Michael Michelin, solely in their
24   capacity as Trustees of the Trust. The Trust was established by the Modified First Amended
25   Combined Plan of Liquidation and Disclosure Statement of Cred Inc. and Its Subsidiaries Under
26   Chapter 11 of the Bankruptcy Code (D.I. 629-1, Case No. 20-12836, Bankr. Del.) (as amended, the
27
28   5
       While this total largely eliminates duplicates and other claims, the Trust’s professionals continue to
     refine their calculations through the claims administration process.

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 1   “Plan”). The Plan was confirmed on March 11, 2021, by the United States Bankruptcy Court for the
 2   District of Delaware (the “Bankruptcy Court”) and became effective on April 19, 2021 (the “Effective
 3   Date”). (See D.I. 730.)6 Under the Plan, the Trust may obtain assignment of third-party claims that the
 4   Trustees may then pursue on behalf of all creditors. See D.I. 1041 at 67:8-10 (comments by Bankruptcy
 5   Judge John Dorsey). Pursuant to that authority, the Trust was assigned the claims asserted here from
 6   the Trust Assignors.
 7          14.     Defendant Lockton Companies LLC is a Missouri limited liability company, with
 8   headquarters at 444 W 47th St., Suite 900, Kansas City, Missouri 64112. Lockton Companies LLC is
 9   licensed by the California Insurance Commissioner to engage in the sale of insurance policies in this
10   State. During the relevant period, it did business with Cred from its office at (i) 3 Embarcadero Center,
11   6th Floor, San Francisco, California and (ii) 400 Capitol Mall, Suite 2600, Sacramento, California.
12   Upon information and belief, it continues to conduct business from that location. Defendant does
13   business as Lockton Insurance Brokers, LLC.
14          15.     Defendant Lockton Companies, LLC - Pacific Series is a Missouri limited liability
15   company, with headquarters at 444 W 47th St., Suite 900, Kansas City, Missouri 64112. It is a series of
16   Lockton Companies LLC pursuant to Missouri law. See Mo. Rev. Stat. § 347.186. It is registered with
17   the California Secretary of State to do business in this State. It has an office in California located at 777
18   S. Figueroa Street, 52nd Floor, Los Angeles, California. It also does business as Lockton Insurance
19   Brokers, LLC. Upon information and belief, Lockton Companies, LLC – Pacific Series conducts
20   business from 3 Embarcadero Center, 6th Floor, San Francisco, California, operates brokage offices in
21   California, and supervises employees at its California locations.
22          16.     Plaintiffs are informed and believe and thereon allege that each of the Defendants
23   designated as DOE is in some manner responsible for the damages claimed by plaintiff herein. Plaintiffs
24   will seek leave to amend this Second Amended Complaint to add the true names of these Defendants
25   when the same have been ascertained.
26
27   6
      On the Effective Date, the Trust was established, and the Debtors’ assets were transferred and assigned
28   to the Trust. (See Plan, § 12.3.) The Trust is being administered by the Liquidation Trustees (as defined
     in the Plan). (See id. at § 12.3(a)).

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 1                                                  TRUST ASSIGNORS
 2              17.     Trust Assignors are the CredEarn customers who have assigned their customer claims
 3   to the Trust, including:
 4              (i)     Charles Lee, who loaned 100 Bitcoin (“BTC”) in CredEarn. His loan earned interest at
 5                      a rate of 8% per annum on his BTC.
 6              (ii)    Chi King Wu, who loaned 1,606 Bitcoin Cash (“BCH”) and 1400 BTC in CredEarn.7
 7                      His loan earned interest at a rate of 7% per annum on this BCH and 9% per annum on
 8                      his BTC.
 9              (iii)   Christopher Moser, who loaned 661.221 BCH; 426.10 BTC, and 5,471,710.732 LBA
10                      in CredEarn. His loan earned interest at a rate of 7-9% per annum on his BTC, 5% per
11                      annum on his BCH, and 5-10% per annum on LBA.
12              (iv)    Gunther Baugh, who loaned 170.95 BTC and 15.512 Ethereum (“ETH”) in CredEarn.
13                      His loan earned interest at a rate of 7-9% per annum on his BTC and 5% per annum on
14                      his ETH.
15              (v)     Joseph Shull, who loaned 40.09 BTC and 10,000 LBA in CredEarn. His loan earned
16                      interest at a rate of 7% per annum on his BTC and 10% per annum on his LBA.
17              (vi)    Julius Hudec, who loaned 97.69 BTC in CredEarn. His loan earned interest at a rate of
18                      7-9% per annum on his BTC.
19              (vii)   Koji Kanie, who loaned 32.39 BTC in CredEarn. His loan earned interest at an interest
20                      rate of 7% per annum on his BTC.
21              (viii) Kyle Wang, who loaned 1,500,000 USD Coin in CredEarn. His loan earned an
22                      interest rate of 10% per annum.
23              (ix)    Olatunde Lapido, who loaned 3,220.010 ETH and 10,000,000 Lumen (“XLM”) in
24                      CredEarn. His loan earned interest at a rate of 5.0% per annum on his ETH and at a
25                      rate of 5.5% for XLM.
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28   7
         The Trustees may amend this Amended Complaint to add the claims of additional Trust Assignors.


                                                                6
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 1            (x)     Patrick Archambeau, who loaned 30.74 BTC, 305,000 USD Coin (“USDC”), and
 2                    10,000 Cred LBA Coin (“LBA”). His loan earned interest at a rate of 7% per annum on
 3                    his BTC, 12% per annum on his UDC, and 10% per annum on his LBA.
 4            (xi)    Robin Houck, who loaned 95 BTC in CredEarn. His loan earned interest at a rate of
 5                    8% per annum on his BTC.
 6            (xii)   Teppei Miyauchi, who loaned 1339.65 BTC in CredEarn. His loan earned interest at a
 7                    rate of 8% per annum on his BTC.
 8                                   OTHER RELEVANT NON-PARTIES
 9         A. Cred-Related Non-Parties
10            18.     Alexander is James Alexander. He was Cred’s Chief Capital Officer from August 2018
11   through all relevant periods described in this Second Amended Complaint. According to the Report
12   issued by Cred’s Examiner, it was revealed post-bankruptcy that Alexander had escaped prison in the
13   United Kingdom.8
14            19.     Cred Inc. is a crypto company that filed a voluntary petition for relief under Chapter 11
15   of title 11 of the United States Code (the “Bankruptcy Code”) on November 7, 2020 (“Filing Date”).
16   Cred was a crypto currency company and has been liquidated in Chapter 11, with its remaining assets
17   to be liquidated through the Trust. Cred was incorporated in Delaware and its principal place of business
18   was at 3 East Third Avenue, Suite 200, San Mateo, California.
19            20.     Examiner is the person appointed in Cred’s Chapter 11 case to examine Cred’s past
20   activities. On December 23, 2020, the Bankruptcy Court ordered the appointment of an examiner. On
21   January 8, 2021, the Court entered an Order approving the appointment of Robert J. Stark as the
22   Examiner. In the Order, the Court directed the Examiner to investigate allegations of fraud, dishonesty,
23   incompetence, and misconduct in affairs of the Debtors and otherwise perform the duties of an
24   examiner, as set forth in Bankruptcy Code §§ 1106(a)(3) and 1106(a)(4), 11 U.S. C. §§ 1106(a)(3) and
25   1106(a)(4). On March 8, 2021, the Examiner issued a report (“Examiner Report”).
26
27
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     8
         Examiner Report at 7.

                                                          7
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 1          21.     Gardler is Meghan Gardler. She was the Director of Marketing at Cred during all
 2   relevant periods described in this Second Amended Complaint. Upon information and belief, Gardler
 3   worked in California during all relevant periods described in this Second Amended Complaint.
 4          22.     Hua is Lu Hua. He was a co-founder and 50% owner of Cred, and was one of Cred’s
 5   two directors. He was a director of Cred during all relevant periods described in this Second Amended
 6   Complaint. Hua served as Cred’s CEO until late 2018, when Schatt became CEO.
 7          23.     moKredit9 was and may currently still be a Chinese micro-lending platform in which
 8   the vast majority of CredEarn funds were invested. moKredit was incorporated in the Cayman Islands
 9   and is based in Shanghai, where it allegedly provides microcredit loans to Chinese borrowers. Hua is
10   the founder and/or manager or director of moKredit.
11          24.     Perez is Travis Perez. He served as Vice President for Wealth for Cred from April 2019
12   to December 2020. Upon information and belief, Perez worked in California during all relevant periods
13   described in this Second Amended Complaint.
14          25.     Podulka is Joseph Podulka. He served as Cred’s Chief Financial Officer from July 2019
15   to December 2020. Upon information and belief, Podulka worked in California during all relevant
16   periods described in this Second Amended Complaint.
17          26.     Schatt is Dan Schatt. He was a co-founder and 50% owner of Cred. Schatt served as
18   Cred’s President and later as Chief Executive Officer during the periods described in this Amended
19   Complaint. Schatt was one of Cred’s two directors during all relevant periods described in this
20   Amended Complaint. Upon information and belief, Schatt worked in California during all relevant
21   periods described in this Second Amended Complaint.
22          27.     Wheeler is Daniel Wheeler. He served as Cred’s General Counsel from August 2019
23   through all relevant periods described in this Second Amended Complaint. Wheeler previously served
24   as Cred’s primary outside counsel as a partner at Bryan Cave Leighton Paisner LLP from 2018 until
25   August 2019.
26
27   9
      The entities comprising the defined term “moKredit” are moKredit Inc., moKredit Technology (Hong
28   Kong) Company Limited, moKredit (Shanghai) Information Technology, Co. Ltd, and Shanghai
     Bestone Information Technology Co. Ltd.

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 1          28.     Wong is Karen Wong. She was the Chief Financial Officer of Cred during a portion of
 2   the relevant period described in this Second Amended Complaint until she was replaced by Podulka as
 3   Chief Financial Officer.
 4          29.     Zhang is Ka “Michael” Zhang. He served as Vice President of Wealth at Cred from
 5   August 2019 to November 2020. Upon information and belief, Zhang worked in California during all
 6   relevant periods described in this Second Amended Complaint.
 7      B. Relevant Lockton Employees
 8          30.     Arzu is Nyreese Arzu, who served as an executive/employee of Lockton during all
 9   relevant periods described in this Second Amended Complaint. Upon information and belief, Arzu
10   worked in California during all relevant periods described in this Amended Complaint.
11          31.     Coe is Lindsay Coe, who served as an executive/employee of Lockton during all
12   relevant periods described in this Second Amended Complaint. Upon information and belief, Coe
13   worked in California during all relevant periods described in this Second Amended Complaint.
14          32.     Koo is Jeff Koo, who served as an executive/employee of Lockton during all relevant
15   periods described in this Second Amended Complaint. Upon information and belief, Koo worked in
16   California during all relevant periods described in this Second Amended Complaint.
17          33.     Tokatz is Michael Tokatz, who was an Account Executive, and an Assistant Vice
18   President at Lockton during all relevant periods described in this Second Amended Complaint. Upon
19   information and belief, Tokatz worked in California during all relevant periods described in this Second
20   Amended Complaint.
21                                      STATUTE OF LIMITATIONS
22          34.     The Trustees and the Trust Assignors did not discover and could not reasonably have
23   discovered the false and fraudulent activities and misrepresentations relating to Cred’s business and
24   Cred’s false representations until sometime after the Examiner Report was issued (on March 8, 2021)
25   in the Cred Chapter 11 case or afterwards. The Trustees and the Trust Assignors could not have
26   discovered the false and fraudulent activities of Lockton until after the Trustees were appointed to the
27   Trust and permitted to investigate these issues.
28          35.     This action is timely filed after the discovery of the wrongdoing alleged herein.


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 1                                              JURISDICTION
 2          36.     Defendants have removed this action to this Court asserting that there is federal subject
 3   matter jurisdiction pursuant to 28 U.S. C. § 1334(b). Plaintiffs contend that there is no federal subject
 4   matter jurisdiction and have moved to remand this action to state court.
 5          37.     Pursuant to Cal. Civ. Proc. Code § 410.10, this Court has personal jurisdiction over
 6   Lockton because Lockton, among other things, purposely availed itself of the benefits of doing business
 7   in California by regularly conducting commercial activities that impact California in a substantial,
 8   continuous, and systematic basis. Lockton has offices from which it transacted the business that gives
 9   rise to the claims asserted here: (i) 3 Embarcadero Center, 6th Floor, San Francisco, California, (ii) 400
10   Capitol Mall, Suite 2600, Sacramento, California, and (iii) 777 S. Figueroa Street, 52nd Floor, Los
11   Angeles, California. Lockton sold Cred insurance coverage from these offices and coordinated with
12   Cred on drafting the Lockton/Cred statements from these offices. Lockton advised Cred about
13   insurance coverage in California, and Lockton employees in California worked with Cred to craft false
14   and misleading statements to Cred customers in California.
15          38.     In addition, Cred’s principal place of business at the time of the relevant events was 3
16   East Third Avenue, Suite 200, San Mateo, California. Most of the senior executives and employees of
17   Cred who coordinated with Lockton and its employees in drafting the false Lockton/Cred Statements
18   were based in California. Lockton employees based in California also sold Cred the policies. The
19   Lockton/Cred Statements were made available through Cred’s website and by other means.
20          39.     Venue is proper in this Court because (i) Lockton has an office that is located in the
21   County of San Francisco and (ii) Lockton’s misconduct that forms the crux of the allegations set forth
22   herein took place in the County of San Francisco.
23                                       FACTUAL BACKGROUND
24      A. Cred Launched the CredEarn Platform
25          40.     Schatt and Hua established Libra Credit, which later became known as “Cyber Quantum
26   Pte. Ltd,” in 2018. On May 14, 2018, Schatt and Hua organized “Libra Credit (US) LLC” in Delaware.
27   In August 2018, Libra Credit (US) LLC changed its name to “Cred LLC.” Schatt and Hua also formed
28   a subsidiary, “Cred (US) LLC,” in August 2018, with Cred LLC as its sole member.


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 1             41.    On May 13, 2020, Cred LLC became incorporated as Cred Inc. Cred Puerto Rico LLC
 2   was also formed for the purpose of facilitating transactions for residents in Puerto Rico. The Trustees
 3   refer to Libra Credit, Cyber Quantum Pte. Ltd., Cred LLC, and Cred (US) LLC, Cred Puerto Rico LLC,
 4   and Cred Inc. collectively as “Cred.”
 5             42.    In late December 2018 to January 2019, Cred launched a cryptocurrency yield-earning
 6   program10 called CredEarn. Through CredEarn, customers lent their crypto to Cred for a fixed period
 7   of time. Cred promised to pay customers a fixed interest rate on their crypto (either in cash or more
 8   crypto) and return their crypto, plus interest, to customers on a specified date. Once Cred received
 9   customers’ crypto, it converted the crypto into fiat currency, such as the United States dollar. Cred then
10   purported to invest the funds at a higher rate of interest than it was required to pay the CredEarn
11   customers. From June 2019 until the Filing Date, Cred borrowed over $280 million in crypto from
12   CredEarn customers based on the false promise that customers’ losses were insured.
13         B. Lockton Was Cred’s Insurance Broker from Its Early Days and Knew Cred Had Only
              Limited Insurance
14
               43.    Once Cred started the CredEarn program, Cred knew that Lockton could help make the
15
     program more marketable. Cred had used Lockton for its insurance needs in its early days and deepened
16
     its relationship with Lockton.
17
               44.    Lockton advertised itself as the world’s largest independent insurance brokerage and
18
      claimed to have expertise in the financial services and cryptocurrency markets. It publicly touted its
19
      “expertise and influence in the insurance marketplace” and claimed it provided “exceptional results
20
      for its customers.”11 Lockton boasted that “[f]inancial institutions and financial service companies
21
     10
22     In a yield-earning program, the company that sponsors the program borrows crypto from its customer,
     and the customer become an unsecured lender of cryptocurrency. The company promises to repay the
23   customer the crypto back at a fixed date, plus interest earned during the duration of the loan. The
24   company then seeks to earn a greater yield on the loaned cryptocurrency than it owes its customer under
     the yield-earning program. This is usually earned through the company turning the crypto into fiat
25   currency and re-lending the money at a higher rate or through cryptocurrency trading strategies. The
     customer benefits from yield-earning programs because he or she maintains ownership of the
26   cryptocurrency while earning interest. The company profits from yield-earning programs if it earns a
27   greater yield than the company owes customers.

28   11
          https://global.lockton.com/us/en/financial-services.


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 1    around the world select Lockton to strengthen their insurance.”12 Lockton also claimed its clients had
 2    the ability to “design and tailor [their] insurance program and risk transfer strategies to fit [their]
 3    unique needs.”13
 4             45.    Lockton acquired several policies for Cred. But the policies provided only minimal
 5    coverage for Cred and no coverage for CredEarn customers.
 6             46.    Lockton sold Cred an errors and omissions insurance policy (“E&O Policy”) from
 7    Validus Specialty (“Validus”) that was supposed to cover wrongful acts of the company, its
 8    executives, and employees. Although the CredEarn program took in over $280 million from
 9    customers, the E&O Policy provided only $1 million of coverage with a $350,000 self-insured
10    retention. The details of the policy reflected that it did not cover CredEarn customers’ losses, nor did
11    it cover the Cred losses that pushed it into bankruptcy.
12             47.    Moreover, while the E&O Policy referred to insurance for Lending Services, i.e.,
13    CredEarn,14 the details of the policy reflect that CredEarn losses were largely excluded. First, the E&O
14    Policy did not cover a loss “for liability arising out of any representation, promise or guarantee of the
15    past performance or future value of any investment product.” Second, the E&O Policy did not cover
16    critical misdeeds of executives and employees of Cred, including acts that involved the gaining of any
17    personal profit or financial advantage to which the insured was not legally entitled. Third, the E&O
18    Policy did not cover any loss relating to theft, appropriation, misappropriation, misuse, or conversion
19    of any crypto currency, crypto token or coin, digital token or coin, utility token or coin, or any
20    blockchain asset, security, or other means of trade or transaction involving blockchain or equivalent
21    software or technology. Fourth, the E&O Policy eliminated coverage for any loss arising out of the
22    “insolvency, conservatorship, receivership, bankruptcy, or liquidation of any Insured, or the inability
23
24
     12
25        https://global.lockton.com/us/en/financial-services.

26   13
          https://global.lockton.com/mena/en/products-services/cyber-and-technology.
27   14
        Lending Services was defined in the E&O Policy as “(ii) the borrowing of Bitcoin from unsolicited
28   third-party client self-directed investors through the creation of Enhanced Yield Accounts pursuant to
     the terms and conditions of a fully executed CredEarn Agreement.”

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 1    of the Insureds to perform Professional Services or Lending Services.” Fifth, the E&O Policy
 2    specifically excluded losses from wrongful acts involving moKredit.
 3            48.     Lockton also sold Cred a cyber liability policy from Axis Insurance (“Axis Policy”) that
 4    provided similarly minimal and illusory coverage. While the Axis Policy supposedly provided Cred
 5    with cyber liability coverage up to a $5 million limit with a self-insured retention of $25,000, the most
 6    critical parts of the Axis Policy were subject to different caps. The endorsements decreased coverage
 7    for social engineering fraud and telecommunication theft provided only $250,000 of coverage with a
 8    self-insured retention of $25,000. The Axis Policy also excluded coverage for a loss resulting from
 9    the breach of an agreement or for fraudulent or intentional misconduct.
10            49.     Lockton also sold Cred two directors’ and officers’ insurance policies with gaping holes
11    (“D&O Policy”). The first policy from Validus provided $1 million in coverage with a $200,000 self-
12    insured retention; and the second policy from Euclid had a $1 million excess insurance policy that was
13    subject to the essentially the same terms and conditions as the Validus Policy. Like the E&O Policy,
14    the D&O Policies excluded acts that caused the CredEarn losses. It did not cover acts that (i) provided
15    a personal profit or financial advantage to the D&Os, (ii) resulted from a written agreement, or
16    (iii) related to the offering of securities by Cred.
17            50.     Furthermore, the D&O Policy has an “ICO and Crypto Currency, Token, or Coin
18    Exclusion Endorsement.” This exclusion provided that any kind of loss relating to crypto was not
19    covered, including a loss from the ownership of crypto, investment in the form of crypto, transfer of
20    crypto, or the theft, appropriation, misappropriation, misuse, or conversion of crypto.
21            51.     Lockton also sold Cred a general commercial insurance policy from The Hartford
22    Financial Services Group, Inc. (“Hartford Policy”). The Hartford Policy expressly excluded losses
23    Cred suffered from dishonest or criminal acts or losses resulting from “voluntarily parting with any
24    property to a person the insured entrusted the property if induced by any fraudulent scheme, trick,
25    device or false pretenses.”15
26            52.     Lockton, an expert in the field of crypto insurance, arranged every aspect of the policies
27    with the carriers and relayed the terms of the policies to Cred. Numerous emails from the winter to
28
     15
          Cred also had $1 million coverage for lawyers from One Beacon Insurance.

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 1   spring of 2019 reflect Cred and Lockton having detailed discussions on the proposed insurance
 2   policies. Primarily acting through Coe, Lockton helped Cred fill out applications, it advised Cred on
 3   the amount, terms and other aspects of the coverage, and it negotiated amendments to proposed
 4   coverage. Coe also helped Cred “prepare & get the right people from Cred on the phone” in order to
 5   help Cred respond to questions asked by insurance underwriters.
 6          53.     For example, on March 29, 2019, Coe advised Schatt, Alexander, and Wong about
 7   details of E&O insurance that was being negotiated. At all times, Lockton employees and officers
 8   represented themselves to Cred as having deep knowledge about the policies that Cred acquired.
 9          54.     Lockton was Cred’s broker and knew the terms and exclusions for all these policies.
10   Lockton knew that Cred’s insurance policies did not cover the losses Cred and CredEarn customers
11   might suffer. Yet, as explained below, Lockton ignored this reality when it drafted public statements
12   with Cred about Cred’s insurance coverage.
13      C. Lockton and Cred Drafted the Lockton/Cred Statements on Insurance Coverage
14          55.     Lockton played a pivotal role in helping Cred promote the CredEarn program. On March
15   29, 2019, Coe, a Lockton account executive, and Arzu, a Lockton assistant vice president and account
16   executive, began working with Cred to “craft a public-facing 1-3 paragraphs on [Cred’s] website” about
17   its insurance coverage.
18          56.     Arzu suggested Cred use “Coinbase’s insurance web page” as a template, and she
19   attached a link to it. This suggestion was odd since the kinds of insurance that Coinbase could acquire
20   and afford were completely different than what Cred had. Coinbase was a far more mature company
21   than Cred: Coinbase was valued at $8 billion by late 2018 and earned more than $500 million in revenue
22   in 2019. Arzu failed to point out any distinction when he inappropriately suggested using Coinbase’s
23   insurance as a model.
24          57.     Schatt replied to Arzu’s email and said that Cred needed more guidance on the
25   disclosure. That same day, in response to Schatt’s request for more information, Coe said: “[w]e
26   completely understand your need for some more information. I think this discussion would be better
27   suited for a phone call.” Schatt replied: “[s]ure, in the meantime, it would be helpful to send us
28


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 1   something that can help us understand what can be said publicly.” Coe and Arzu told Schatt that they
 2   could provide thoughts over the phone and suggested Cred consult its counsel for further assistance.
 3             58.   Koo, who outranked Arzu and Coe, was dissatisfied with the answers that Arzu and Coe
 4   gave to Schatt. Thus, Koo took over this important project and made three important changes. First,
 5   Koo eliminated Coe and Arzu from the emails with Lockton. Thereafter, Koo was in charge of the
 6   statements, and he did not appear to ask for others’ viewpoints regarding the appropriateness of
 7   Lockton’s direct participation in drafting the website statements. Second, Koo made clear that he and
 8   his team would draft statements for the website, instead of merely providing thoughts over the phone.
 9   Third, Koo agreed to ensure the accuracy of statements about the insurance coverage and the terms of
10   the policies.
11             59.   Once he excluded Coe and Arzu from the email chain, Koo sent an email dated April 1,
12   2019, only to Schatt, in which Koo stated, “I want to help you draft what you want to put on your
13   website.” Koo explained that he was “more than happy to have a conversation over the phone and get
14   this written down on our end.”16 In fact, he stressed that he “will be reaching out direct to have this
15   drafted with you.”17 Koo and Schatt scheduled a phone call to discuss the insurance disclosure the next
16   day.
17             60.   On April 3, 2019, Koo emailed Schatt about how to describe the insurance on Cred’s
18   website. Koo remarked: “This should be a great start in drafting an insurance paragraph on your
19   website. We can discuss this once you have your first draft.” On April 5, 2019, Koo diligently followed
20   up and wrote Schatt: “[c]hecking back in from my prior email. Let me know when you have your first
21   draft.”
22             61.   A few weeks later, Coe and Arzu were unintentionally copied on an email chain that
23   mentioned the insurance-related statements for Cred’s website. But Koo again excluded Coe and Arzu.
24   Koo told Schatt, “As for the language, for your website, we can have a separate email for this.” Koo
25
26
27   16
          Emphasis added.
28
     17
          Emphasis added.

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 1   followed up directly with Schatt on April 27, 2019: “Let me know how things are going as far as
 2   drafting what you would like to put on your website.”
 3          62.      On May 13, 2019, Schatt finally sent Koo a “long overdue” “stab at the language for
 4   the [w]ebsite.” Schatt adopted Koo’s suggestions. These draft statements were headlined “Going Above
 5   and Beyond” (“Draft GA&B Statements”). A copy of the Draft GA&B Statements is attached hereto
 6   as Exhibit 1. The Draft GA&B Statements claimed that Cred had “the industry’s most comprehensive
 7   set of risk management, information security and insurance protections available.” The Draft GA&B
 8   Statements also claimed that: “[i]f the worst happens and Cred loses customer funds, customers deserve
 9   certainty that they will be made whole.” In the Draft GA&B Statements, Cred claimed it was serious
10   about protecting client financial assets and that it believed it has “an obligation to take a leadership role
11   to go beyond today’s status quo to obtain as many insurance and risk management protections as
12   possible.”
13          63.     The Draft GA&B Statements included representations about Lockton and the process
14   by which Lockton had helped Cred about insurance, such as that Cred selected “Lockton in part due to
15   their competency in crypto, cybercrime and financial services.” In addition, the Draft GA&B
16   Statements that Lockton co-authored proclaimed that Cred was “proud of the fact that Cred ha[d] some
17   of the most comprehensive insurance policies of any crypto financial services platform, spanning errors
18   and omissions (E&O), Directors and Officers (D&O),18 Cyber and Regulatory claim coverage.” The
19   Draft GA&B Statements further claimed that Cred was “selected by underwriters for insurance
20   coverage after it was evaluated against several criteria,” including “Cred’s licensed and well
21   documented business activities,” its “highly reputable strategic partners,” its “best practices with its
22   partners” and its “executive team [that] stands out for its depth of experience.” Relatedly, the Draft
23   GA&B Statements concluded that “[t]his comprehensive insurance coverage provided to Cred [was] a
24   testament to the confidence Cred’s underwriters have in Cred’s ability to demonstrate to financial
25   regulators that it can demonstrate sound policies and procedures and adequate supervision.”
26
27   18
       Lockton and Cred decided not to mention D&O insurance to avoid lawsuits, but the representations
28   about comprehensive insurance encompassed this policy. As explained above, the D&O coverage was
     woefully inadequate.

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 1            64.    The Draft GA&B Statements also made more specific representations about the
 2   insurance coverage that comprised Cred’s “comprehensive cyber policy coverage.” For example, they
 3   claimed that Cred’s E&O Insurance covered a situation in which “a customer or stakeholder holds Cred
 4   responsible for a service that it failed to provide or did not have the promised results.” Services,
 5   “include[d] the borrowing of crypto from a client related to the terms and conditions of a Cred
 6   Agreement and the granting of business or consumer lines of credit against crypto assets.”19 The Draft
 7   GA&B Statements also claimed that Cred’s insurance policies “cover product failure, meaning the
 8   inability of customers to access or otherwise utilize Cred’s intended service” as well as “any wrongful
 9   act or product failure in the rendering of Cred’s professional services.”20 In addition, the Draft GA&B
10   Statements claimed that D&O insurance covered “claims that may arise from actual or alleged wrongful
11   acts of directors and officers.”
12            65.    Koo responded to the Draft GA&B Statements shortly after he received them on May
13   13th, praising it as a “[v]ery nice piece of work.” He assured Schatt that he would review and make
14   comments. Koo also agreed that he and his team would ensure that the policy details were accurately
15   described. He emailed Schatt, “I will need some time to review the insurance requirements with my
16   team. I will be in touch shortly.”21
17            66.    Koo assured Schatt that his team was working on it nearly a week later. In an email
18   dated May 20, 2019, Koo said to Schatt: “I am working with my team this week to ensure that the
19   coverage stated is within the terms and conditions. I will want to set up a call with you on Friday to
20   discuss.”22 A few days later, on May 22, 2019, Koo said he would like to set up a meeting to discuss
21   the disclosure “preferably in person.”
22
23
24
25
     19
          Emphasis added.

26   20
          Emphasis added.
27   21
          Emphasis added.
28
     22
          Emphasis added.

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 1             67.    On May 27, 2019, Koo proposed minor changes to just one section of the Draft Going
 2   Above and Beyond Statements, which related to Cyber and Regulatory Insurance.23 But none of those
 3   changes changed the important claims in the Draft GA&B Statements cited above.
 4             68.    Koo also gave the green light for Cred to use the disclosure. He stated that the E&O
 5   Policy disclosure, which was “fairly detailed,” could be used.24 This was the section that specifically
 6   addressed the CredEarn program and claimed Cred was insured for losses relating to that program.
 7             69.    The drafting work by Lockton and Cred in this Section C resulted in the form statements
 8   that were used on Cred’s website (“Lockton/Cred Statements”).
 9             70.    Lockton was instrumental to creating the Lockton/Cred Statements because the
10   disclosure resulted from (i) Lockton executives’ suggestion that Cred mirror language used by
11   Coinbase; (ii) phone discussions and/or in-person meetings between Lockton executives and Cred’s
12   executives about the contents; (iii) Lockton executives sending Cred descriptions of the insurance
13   policies; (iv) Koo’s proactive measures to take responsibility for the statements, such as by writing
14   them, having his team work on them, and taking responsibility for accurately relaying the terms of the
15   policies; and (iv) Lockton and Cred exchanging drafts and a mark-up of the statements. Thus, Lockton
16
17
18   23
          The modification was to change the sections below as follows:
19
               Cyber Insurance
20             One of Cred’s priority areas cyber insurance. Security and protection of client funds is our top
               priority. Cred’s comprehensive cyber policy covers network security failure, cyber extortion,
21             data recovery, costs, ransomware, forensics, reputational harm, business interruption and
22             system failures. we [sic] believe it is particularly critical to focus on employee training related
               to privacy and data security. we’ve [sic] financially supported our employees to pursue
23             advanced cyber security specializations (name the certifications).
24             Regulatory Insurance
25             Cred is covered for liability associated with privacy breaches and computer system security
               breaches. Cred also devotes significant time and resources to support user education.
26
               Cred’s policy also covers privacy notifications and claims brought by any regulatory or
27
               administrative agency.
28
     24
          Emphasis added.

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 1   was a co-author that was instrumental in creating the false representations in the Lockton/Cred
 2   Statements.
 3          71.     As explained below, with very little modification, the Lockton/Cred Statements were
 4   used for Cred’s website and other places where customers could read them. Also as explained below,
 5   the statements crafted by Lockton and Cred wereused, posted, or otherwise made available to CredEarn
 6   customers in a variety of ways.
 7      D. The Lockton/Cred Statements Were False
 8          72.     The Lockton/Cred Statements were littered with false information and blatant
 9   misrepresentations. Lockton knew the representations were false. First, Lockton was an insurance
10   broker that touted its expertise in crypto, cybercrime, and financial services. Second, Lockton knew the
11   true extent of Cred’s coverage because it had helped Cred find insurance carriers, discussed policies
12   with Cred, helped negotiate the policies, and sold them to Cred. Third, Lockton specifically assumed
13   responsibility to make sure the disclosure accurately reflected Cred’s insurance coverage.
14          73.     The Lockton/Cred Statements were false for many reasons. First, Cred’s insurance was
15   not “the industry’s most comprehensive set of risk management, information security and insurance
16   protections available.” This was false for a few reasons. First, Cred’s total insurance was de minimis as
17   compared to the size of its CredEarn program. Cred had $15 million of Crypto, General liability, E&O,
18   D&O insurance (most of which did not cover Cred’s or its customers’ losses), but it had exposure for
19   over $280 million of CredEarn customer crypto loans. The amount of insurance coverage was not
20   comprehensive based on Cred’s business, nor did Cred have the highest insured limits in the industry.
21          74.     Further, Cred’s insurance was not comprehensive because it had no crime insurance.
22   Lockton knew Cred had no crime insurance because it investigated getting some for Cred. In September
23   2019, Koo referred Podulka to Michael Tokatz at Lockton to continue discussing crime coverage.
24   Crime coverage was difficult to obtain, though other crypto companies with stronger internal controls
25   and financial statements, like Coinbase and Gemini, had such policies. Cred gave up on getting crime
26   insurance when it learned about the rigorous underwriting process and standards.
27          75.     In May 2020, Podulka reconsidered possibility of getting crime insurance, but declined
28   again because he believed the potential premium was too high. Lockton knew that Cred had abandoned


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 1   its consideration of crime insurance. In sum, given the critical lack of crime coverage, Lockton knew
 2   that Cred did not “obtain as many insurance and risk management protections as possible” for the
 3   “crypto community.”
 4          76.     The Lockton/Cred Statements also misrepresented the process by which Cred had
 5   obtained its (limited) insurance. For example, the Lockton/Cred Statements falsely claimed that Cred
 6   was “selected by underwriters for insurance coverage after it was evaluated against several criteria,”
 7   including “Cred’s licensed and well documented business activities,” its “highly reputable strategic
 8   partners,” its “best practices with its partners” and its “executive team [that] stands out for its depth of
 9   experience.”
10          77.     In fact, as Lockton knew, Cred had trouble finding cyber insurance and had been
11   rejected by one carrier because of its poor practices. The carrier told Lockton why it declined for
12   reasons such as:
                    • Key management was inadequate, CRED did not appropriately backup and manage
13
                    keys to their customer’s wallets
14                  • Auditing in CRED services was inadequate
                    • Protection of the Drivers License information and other KYC type data was inadequate
15                  • Authentication for services such as the Amazon AWS IaaS console, Email, and
                    consumer did not offer adequate 2-Factor
16
                    Authentication mechanisms, or did not require 2-Factor Authentication in general.
17                  • We believe that the crypto space should require 2-Factor Authentication for all
                    services, and never rely on SMS for 2-Factor Authentication
18
19   Thus, the Lockton/Cred Statements falsely asserted that Cred’s insurance coverage was “a testament to
20   the confidence Cred’s underwriters” had in Cred’s ability to demonstrate “sound policies and
21   procedures and adequate supervision.”
22          78.     The Lockton/Cred Statements also falsely claimed that Cred had “the most
23   comprehensive insurance policies of any crypto financial services platform, spanning errors and
24   omissions (E&O), Directors and Officers (D&O), [and] Cyber and Regulatory claim coverage.” In fact,
25   each of these policies was not comprehensive and had gaping exclusions and exceptions described
26   above. For example, the D&O insurance had a crypto exclusion and excluded acts that involved
27   personal gain, while its Cyber Policy had a $250,00 limit for social engineering fraud and
28   telecommunications theft and it lacked coverage for a loss resulting from the breach of an agreement


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 1   or for fraudulent or intentional conduct. Both policies also provided de minimis coverage considering
 2   the magnitude of potential losses.
 3             79.   The Lockton/Cred Statements also falsely claimed that Cred’s E&O Insurance covered
 4   potential CredEarn losses. In particular, the Statements misrepresented that coverage would apply in a
 5   situation in which “a customer or stakeholder holds Cred responsible for a service that it failed to
 6   provide or did not have the promised results,” which services, “include[d] the borrowing of crypto from
 7   a client related to the terms and conditions of a Cred Agreement.” It also claimed the insurance covered
 8   “the inability of customers to access or otherwise utilize Cred’s intended service” as well as “any
 9   wrongful act or product failure.”
10             80.   But contrary to this representation, the E&O Policy insured minimal losses. In addition,
11   the E&O Policy excluded coverage for every activity that led to the CredEarn losses. There was no
12   coverage for acts or events that involved personal profit, wrongful employee acts, theft or
13   misappropriation, losses from bankruptcy, or any acts involving moKredit. These exceptions gutted the
14   policy and provided no benefit for customers when Cred could not return their crypto. CredEarn
15   customers filed claims in the bankruptcy for more than $165 million because there was no insurance
16   coverage.
17             81.   Simply put, while the Lockton/Cred Statements claimed that: “[i]f the worst happens
18   and Cred loses customer funds,” customers “will be made whole” through the insurance, Lockton knew
19   that would never happen. Instead, it was foreseeable that customers would be devastated by uninsured
20   losses.
21      E. Cred Published the False and Misleading Lockton/Cred Statements, Which Accelerated
22         Customer Deposits Based on the False Assurances about Insurance

23             82.   In June 2019, Cred posted the false and misleading Lockton/Cred Statements with
24   extremely minor (non-relevant) modifications. It was posted on Medium.com in early June 2019 and
25   is attached hereto as Exhibit 2 (see https://medium.com/@ihaveCred/going-above-and-beyond-
26   c1468769c563 ). The Medium Article bore the Lockton logo as set forth below:
27
28


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13             83.    CredEarn customers who visited Cred’s website and wanted to read about the safety of
14   CredEarn and Cred’s insurance were directed to a link with the Medium article. The Medium article
15   was viewed over 1300 times from the time it was posted until the Filing Date.
16             84.    On October 16, 2019, Cred again posted the false Lockton/Cred Statements linked to its
17   website, at https://mycred.io/blog/crypto-insurance/. The Lockton/Cred Statements remained on the
18   Cred website shortly before Cred filed for bankruptcy.25
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          Examiner’s Report at pp. 37-38.

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 1            85.      The post bore only the Lockton logo:
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13            86.      The Lockton link remained on the website until it was removed on 10/31/2020, just
14   before         Cred’s     Filing      Date.      See      Exhibit       3      and      attached      hereto
15   https://web.archive.org/web/20201001082401/https://mycred.io/blog/crypto-insurance/. Hundreds, if
16   not thousands, of potential customers were directed to this site.
17            87.      From October 2019 through October 2020, Cred’s marketing and sales team directed
18   hundreds of customers to Cred’s website, which contained the information that Lockton co-authored.
19            88.      Cred was quite successful in attracting loans based on the false statements that it crafted
20   with Lockton, which became a distinguishing feature of CredEarn program.
21            89.      The Trust Assignors each relied on similar information. For example, Zhang at Cred
22   told Mr. Shull that Cred had purchased the most insurance that any crypto company could purchase.
23   An email dated October 14, 2019, from Zhang to Mr. Shull stated that Cred had a “comprehensive
24   insurance policy on E&O, D&O and other cyber protection.” In the same email, Zhang further expressly
25   promised that “during the time that they [the crypto/funds] are with us we have a comprehensive
26   insurance policy with Lockton that includes protection against any hacking, E&O, and regulatory
27   coverage.”
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 1          90.     CredEarn raised about $6 million per month on average in the first half of 2019. Once
 2   the Lockton/Cred Statements became public, however, the money Cred raised increased dramatically
 3   and rapidly because Cred’s marketing efforts were built upon lies it crafted with Lockton. The
 4   following are the amounts Cred raised per month from July 2019 to October 2020:26
 5                                  July 2019               $7,456,401
 6                                  August 2019             $4,202,082
 7                                  September 2019          $16,525,428
 8                                  October 2019            $15,858,511
 9                                  November 2019           $19,075,893
10                                  December 2019           $22,906,923
11                                  January 2020            $32,728,197
12                                  February 2020           $18,611,985
13                                  March 2020              $20,287,797
14                                  April 2020              $16,226,274
15                                  May 2020                $12,648,982
16                                  June 2020               $23,673,771
17
                                    July 2020               $18,143,789
18
                                    August 2020             $41,601,206
19
                                    September 2020          $16,694,769
20
                                    October 2020            $7,367,756
21
22          91.     Thus, customers poured into the CredEarn program based on the insurance

23   misrepresentations that lured customers into a false sense of security. On November 30, 2019, Schatt

24   emailed his team, praising them for bringing in customers at a rapid pace and remarked that they are

25   breaking “Cred World Records.” Schatt also exhorted his team that the new crypto loans were

26   “Unbelievable!!!” By the end of 2019, Schatt said that “[i]t is hard to put this unbelievable year into

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     26
28      These calculations are alleged on information and belief based on a review of Cred’s records and
     efforts to reconstruct Cred’s accounting records by the Trustees’ professionals.

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 1   words, so I’ll start with some unbelievable numbers.” He attached a chart showing a 375,225% growth
 2   rate in attracting new CredEarn customers.
 3              92.   Schatt continued to push the CredEarn program with success—using the false
 4   representations about Cred’s insurance—through May 2020. The efforts to promote Cred remained
 5   successful despite volatility in the crypto market and the COVID pandemic. Schatt exclaimed to his
 6   team in May 2020: “What a month (again!)” and commented that “[t]he platform and sales team brought
 7   in over $18 million of additional funding, beating our $15 million goal.”
 8              93.   By using the false and misleading Lockton/Cred Statements and the purported
 9   comprehensive insurance to peddle the CredEarn program, Lockton and Cred together fraudulently
10   induced the Trust Assignors to enter into the CredEarn at a furious pace.
11         F. Customers Relied on the False Statements About Cred’s Insurance
12              94.   Customers reasonably relied on the Lockton/Cred Statements. Since Lockton was
13   regarded as the preeminent expert in the crypto insurance field, and it could be expected to source
14   unusual products or even create a bespoke product, CredEarn customers reasonably believed that Cred's
15   insurance would make them whole.
16              95.   The Examiner found that customers were pointed to or received “insurance information
17   that, according to certain customers, led them to believe that their crypto loans were fully protected by
18   Cred’s insurance policies.27 The Examiner observed that one customer, Darryl Ferguson, placed his
19   confidence in Cred due to its “advertised claim to have ‘industry leading’ insurance.”28
20              96.   Likewise, each of the Trust Assignors reasonably relied on the false statements about
21   Cred’s insurance. Charles Lee decided to participate in CredEarn after performing substantial due
22   diligence on the CredEarn program. That process included an in-person meeting with Schatt. Mr. Lee
23   relied upon Cred’s insurance coverage. It was a major factor in his decision to join the CredEarn
24   program, and at the time of Cred’s filing, he recalled Cred having some sort of insurance that covered
25   his losses.
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27   27
          Examiner Report at 38.
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     28
          Id.

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 1          97.     Chi King Wu participated in CredEarn initially based on the representations concerning
 2   insurance coverage. Mr. Wu reviewed the Lockton/Cred Statements, information on Cred’s website
 3   concerning insurance coverage, and the Medium article. Mr. Wu relied on the representations about
 4   comprehensive insurance that would have covered his losses. Mr. Wu also communicated with Michael
 5   Zhang, who promised Mr. Wu that there would be comprehensive insurance coverage. Mr. Wu would
 6   not have participated in Cred if it did not have extensive insurance coverage.
 7          98.     Christopher Moser noticed that unlike Cred, other companies did not promise
 8   insurance coverage. CredEarn’s insurance protection made a crypto loan to Cred more attractive than
 9   other yield-earning platforms. After an initial loan to try the program, Mr. Moser increased his crypto
10   loans and rolled over his loans in CredEarn after he reviewed the information on Cred’s website and
11   the Medium article. Mr. Moser believed that his crypto loans to Cred were insured, and he relied on
12   that insurance. Mr. Moser also received an email from a Cred email address, info@mycred.io, that
13   stated that Cred was offering the industry’s most comprehensive set of insurance protections. This email
14   was also sent to many customers (“The Insurance Email”).
15          99.     Gunther Baugh also relied on Cred’s insurance. He understood that if Cred lost his
16   crypto, he would be insured. Mr. Baugh spoke to Zhang at Cred, who assured him that CredEarn losses
17   were covered by insurance. He thought the insurance was comprehensive. He received an email from
18   Zhang stating that Cred had a comprehensive insurance policy with Lockton that includes protection
19   against hacking, E&O, and regulatory coverage.
20          100.    Joseph Shull participated in CredEarn after the Lockton/Cred Statements were posted.
21   Shull reviewed Cred’s website and statements on insurance that talked about Cred making extensive
22   efforts to get insurance. He understood it was called Going Above and Beyond. Based on these
23   statements and Cred’s email and phone conversations, Mr. Shull understood that if he lost his crypto,
24   or Cred could not otherwise return it to him, Cred had insurance to cover for the loss.
25          101.    Julius Hudec relied on the promise of insurance coverage for his loans when he entered
26   the CredEarn program. Based on communications from Cred personnel, Mr. Hudec understood that
27   should his loans suffer losses, Cred’s promised insurance would compensate him. Mr. Hudec reviewed
28   the Lockton/Cred Statements with regard to insurance. He never imagined Cred would not tell the truth


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 1   on its website about insurance. He remembers the Lockton name and Lockton logo. He believed that if
 2   the Lockton name was used in such a prominent manner, the statement was true.
 3            102.   Koji Kanie read information about Cred’s insurance on Cred’s website and a
 4   Medium.com article that Cred directed him to about insurance. Mr. Kanie read the “Going Above and
 5   Beyond” statements and relied on it. When he participated in CredEarn’s yield-earning program, he
 6   thought his crypto loan was insured. Mr. Koji would not have participated in CredEarn but for the
 7   statements about Cred’s insurance that were posted on Medium. Mr. Kanie also received The Insurance
 8   Email.
 9            103.   Kyle Wang participated in CredEarn initially and increased his crypto loans in reliance
10   of Cred’s insurance representations in the Lockton/Cred Statements, on Cred’s website and the Medium
11   article. Mr. Wang read the “Going Above and Beyond” statements and relied on it. Mr. Wang was
12   familiar with other yield-earning programs and noticed that Cred distinguished itself based on its
13   promised insurance coverage. Mr. Wang was impressed that Lockton, with its industry leading
14   reputation, was working with Cred to provide the promised insurance. Mr. Wang also spoke by phone
15   with Perez and also received The Insurance Email.
16            104.   Olatunde Lapido relied on representations about Cred’s insurance before entering into
17   the CredEarn program. They were a major factor in his decision. He did extensive diligence before he
18   participated. He remembers reading a Business Wire article and likely read any Medium article. He
19   wanted to exit the CredEarn program in the summer of 2020 and get his crypto/money back because
20   he was starting to get worried. Schatt assured him his crypto loan was solid and that it was insured.
21            105.   Patrick Archambeau participated in CredEarn and rolled over his loans after he read
22   Cred’s insurance representations in the Lockton/Cred Statements from Cred’s website. He was familiar
23   with other yield-earning programs and noticed that few, if any, lending programs touted insurance like
24   Cred did. He understood that Cred distinguished itself based on its insurance. Mr. Archambeau relied
25   on the comprehensive insurance that would make customers whole, in addition to Cred’s statements
26   that if it did not provide the services or deliver the results Cred promised, customers were insured. Mr.
27   Archambeau would not have participated in Cred if it did not have extensive insurance. Mr.
28   Archambeau received the Insurance Email.


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 1          106.    Robin Houck participated in CredEarn after the Lockton/Cred Statements were posted
 2   on Cred’s website. He participated in the CredEarn program because he thought he could not lose his
 3   crypto or its value because it was insured. He reviewed the website and the Lockton/Cred Statements
 4   and learned that Cred had comprehensive insurance. Mr. Houck also spoke to Zhang at Cred about the
 5   CredEarn program. Mr. Houck obtained an assurance from Dan Schatt that Zhang had the authority to
 6   make representations about Cred and the CredEarn program. Zhang assured Mr. Houck that his crypto
 7   loan was insured.
 8          107.    In an email of August 25, 2020, Mr. Houck asked, “how would my coins be stored and
 9   secured?” In response, Zhang provided a link to the portion of the Cred website
10   (https://mycred.io/blog/crypto-insurance/) that, as discussed supra, displayed a Lockton logo and
11   contained materially false information concerning insurance coverage. Zhang further touted that: “[i]n
12   addition to custodial insurance, Cred has one of the most comprehensive insurance policies available
13   on the market, including Cyber hacking, E&O and regulatory coverage through Lockton one of the
14   world’s largest privately owned independently insurance brokage firms.”
15          108.    In response, Mr. Houck asked: “[s]pecifically, will my deposit be insured against data
16   breach/theft if this were somehow to occur at Cred?” Zhang responded: “Yes, we have a comprehensive
17   insurance policy that spans over E&O, regulatory changes, and cybersecurity underwritten by
18   Lockton.” Zhang embedded in the phrase “comprehensive insurance policy” a hyperlink to the webpage
19   that contained false information about insurance coverage and the Lockton logo. Mr. Houck would not
20   have participated in CredEarn without the assurance about insurance protection. He relied on the
21   representations on the Cred website made by Lockton/Cred, and the reassurances he received that the
22   insurance would protect him from losses.
23          109.    Teppei Miyauchi participated in CredEarn based on its representations of extensive
24   insurance coverage. Mr. Miyauchi reviewed the Lockton/Cred Statements, information on Cred’s
25   website concerning insurance coverage, and the Medium article. Mr. Miyauchi also communicated with
26   Michael Zhang, who promised Mr. Wu that there would be comprehensive insurance coverage. Mr.
27   Miyauchi therefore believed that any losses would be covered by insurance. Mr. Miyauchi would not
28   have participated in Cred if it did not have the promised extensive insurance coverage.


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 1      G. Cred and Lockton knew that the Lockton/Cred Statements Were False
 2          110.    Cred had knowledge that the Lockton/Cred Statements were false. Schatt, Wheeler,
 3   Wong, and Gardler all knew that Cred was misrepresenting its insurance coverage.
 4          111.    From Cred’s early days, Schatt had a plan to lure the Trust Assignors to the program by
 5   creating a statement that falsely assured the Trust Assignors that the crypto lent as part of the CredEarn
 6   program was safeguarded. Schatt's wrongful intent is clear from an email he sent Wheeler (while acting
 7   as outside counsel) in February of 2019, that “[t]he #1 request we are getting from people is the desire
 8   for some sort of principal guarantee or insurance.” He asked his team to “come up with something that
 9   will provide some assurance.” Schatt initially thought he could accomplish his plan without purchasing
10   insurance, but then he decided to use a ruse of insurance for the “assurance.”
11          112.    To carry out his scheme, Schatt made sure he was extensively involved in purchasing a
12   small amount of insurance at the lowest cost possible. Emails reveal that he discussed the details of the
13   policies, including the E&O policy, with Lockton. Schatt also worked closely with Cred’s Chief
14   Financial Officer, Wong on Cred’s insurance-related communications with Lockton. In fact, Schatt
15   took a lead role in Cred’s interactions with Lockton in 2019. In an April, 25, 2019 email from Coe to
16   Schatt in which Wong was copied, Lockton confirmed that it was going to bind E&O insurance and
17   cyber insurance, “per [Schatt’s] instructions.”
18          113.    Knowing that the insurance Cred was acquiring was a token amount, Schatt instructed
19   Perez in late May 2019 to hide policy limits from customers, other than when they could exaggerate
20   the coverage through live conversations with large investors. At that time, Perez asked Gardler over
21   Slack about policy limits, and Gardler responded: “its very low I don’t think the amount is something
22   we want to advertise.” The Lockton/Cred Statements omitted the coverage limit and merely faslely
23   referred to the coverage as “comprehensive” enough to make customers “whole.”
24          114.    From the time the Lockton/Cred Statements were completed and posted, Wheeler knew
25   they were false. Wheeler had deep knowledge about the state of the crypto industry and Cred’s
26   competitors because he had been a partner in the fintech regulatory area for a large law firm. In fact,
27   Wheeler was in charge of that firm’s representation of Cred in various matters when he was outside
28


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 1   counsel to Cred. Wheeler officially became Cred’s General Counsel in August of 2019, but he
 2   functioned as a hybrid inside/outside counsel duties prior to that and over the summer of 2019.
 3          115.    Wheeler reviewed the policies and knew that the disclosures co-authored by Lockton
 4   were false. Wheeler’s sworn testimony, provided in connection with a Bankruptcy Rule 2004
 5   Examination in Cred’s bankruptcy proceedings, confirmed that he always knew the Lockton/Cred
 6   Statements were false, and that the insurance policies had “little value.” Wheeler also testified that there
 7   was never any insurance that covered CredEarn losses, and he claimed to have expressed his concern
 8   that customers would believe their crypto was insured. According to Wheeler’s testimony, if CredEarn
 9   customer’s money was lost, there was no insurance to cover that loss. He testified that the actual
10   coverage was “immaterial.”
11          116.    He also testified that he consistently informed Schatt of that fact. He claims that he tried
12   to pare down some of the statements about insurance—to prevent customers from being misled into
13   believing that their loans were protected by insurance. But no part of the Lockton/Cred Statements was
14   ever deleted because Schatt was not willing to make that deletion.
15          117.    While Wheeler testified that he knew all along that the Lockton/Cred Statements were
16   false, in October 2019, Wheeler suggested only one minor comment: but his minor change was too cute
17   by half. He suggested that Cred change the statements that the insurance was the best to “one of the
18   best” policies a company could obtain. Even as modified, it was still false because Lockton clearly did
19   not have “one of the best” insurance coverage that could be purchased. Wheeler had no problem with
20   the numerous other blatant false statements.
21          118.    Wheeler knowingly permitted the blatant falsehoods in the Lockton/Cred Statements to
22   be disseminated to the Trust Assignors. As time went on, Wheeler and others at Cred also accepted that
23   the Lockton/Cred Statements were lies. In March of 2020, Gardler commented on Cred’s internal Slack
24   that “a lot of what we do cannot be transparent which is the issue.” She described their representations
25   as “fake transparency.”
26          119.    After Cred attracted hundreds of million in loans based on the false representations,
27   Wheeler became increasingly nervous. On May 15, 2020, Wheeler advised Zhang in an email that the
28   insurance representations that Cred had been making for about a year were false. Wheeler explained:


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            We need to delete the entire bullet point about “insured custody of users crypto” because no
 1
            insurance exists. We also need to delete the bullet point about “Cred has one of the most
 2          comprehensive insurances” because it could mislead someone into thinking that their crypto is
            insured when it is not.
 3
     This May 15, 2020 email reflects Wheeler’s consciousness of guilt and his longstanding knowledge
 4
     that Cred had made repeated false statements about its insurance.
 5
            120.   Wheeler explained the situation by email to Gardler, Director of Marketing, that same
 6
     day:
 7
            I am uncomfortable with continued references to Cred’s insurance in our website or any of our
 8          marketing materials as our insurance has proven to be of no value to us and in no way insures
 9          our user’s crypto against loss. I am inviting discussion on this point before we make a final
            decision, but I am strongly inclined to remove any and all references to Cred’s insurance
10          coverage.
11   But there should have been no room for “discussion” about whether blatantly false statements that
12   deceived customers, like the Trust Assignors into investing in CredEarn, should continue.
13          121.   Wheeler further testified that the situation was a mess, like “whack-a-mole that didn't
14   stay whacked.” He explained: “I saw references early on to this -- to insurance generally. And I
15   eventually required or prohibited really any reference to insurance because it could create a
16   misunderstanding that these transactions were insured.” But despite Wheeler’s claim that he
17   “prohibited” these references, they were not removed, and he never stopped the dissemination of the
18   false Lockton/Cred Statements. Wheeler blamed Schatt, saying he would insist all the
19   Lockton/Statements remain in the marketing material even though he knew that they were not true.
20          122.   But despite Cred’s knowledge, it did not want to stop making false statements about its
21   insurance. Cred’s marketing team resisted Wheeler’s suggestion to remove Cred’s insurance
22   representations, even though it did not attempt to dispute Wheeler’s conclusion that those
23   representations were false. After some discussions that included Gardler and Schatt, the
24   misrepresentations remained and continued to be publicized.
25          123.   On May 15, 2020, Gardler responded to Wheeler as follows: “[i]t would be a big deal
26   to remove our already scant references to insurance in our marketing and on our website. All of our
27   competitors in the crypto space and in the fintech space reference insurance in one way or another and
28   it would be noticeable if we remove ours without explanation.” Nowhere did Gardler suggest that


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 1   Cred’s representation regarding Cred’s insurance was accurate. She advised against removing the false
 2   representation only because such a removal would be publicly “noticeable.” Gardler’s response further
 3   confirms that Cred had always known that the Lockton/Cred Statements were false.
 4          124.    Ironically, in the summer of 2020, worried about Cred’s downfall, Wheeler sought
 5   additional D&O insurance, despite Cred’s representations that the previous insurance coverage of Cred
 6   was “comprehensive.”
 7          125.    By October 27, 2020, when Cred’s bankruptcy filing was imminent, Wheeler emailed,
 8   “Need to delete reference to insurance. There is no insurance that protects client assets.” This was far
 9   too late: Cred had raised hundreds of millions of dollars from the Trust Assignors who were never
10   protected from losses by Cred’s far-from-comprehensive insurance policies. Cred, from the CEO on
11   down, knew the Lockton/Cred Statements were false.
12          126.    The emails and testimony above reflect several Cred executives’ consciousness of guilt
13   their longstanding knowledge of the falsity of the statements. This forecloses the possibility that the
14   statements about Cred’s insurance were inadvertently or negligently false.
15          127.    Lockton, which co-authored the Lockton/Cred Statements, also knew that the
16   representations regarding insurance were false, and being used to solicit customers, such as the Trust
17   Assignors. Lockton’s deep understanding of the policies and its involvement in their purchase by Cred
18   meant that they had full knowledge of the coverage. Lockton was thus fully aware of the disparity
19   between the actual insurance coverage and the Lockton/Cred Statements.
20          128.    Koo’s effort to cut Coe (the person most knowledgeable on the details of the policies),
21   out of the process of drafting the public-facing insurance disclosure shows Koo knew the Lockton/Cred
22   Statement was false, but he did not want any Lockton employee who might object to it involved in the
23   drafting process. Coe and Arzu also did not raise the issue with Koo’s superior, though they were
24   obviously aware they were being cut out for improper purposes.
25          129.    While Lockton proudly advertised itself as the sponsor of the Lockton/Cred Statements
26   by its authorship and the use of its logo, Lockton tried to separate itself from Cred only after all the
27   damage to the Trust Assignors had been done. On October 30, 2020, when Cred’s bankruptcy was
28   imminent, Koo wrote an email to Schatt copying Tokarz. In it, he explained that Lockton received a


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 1   direct inquiry from a CredEarn customer asking if Cred had purchased insurance services from Lockton
 2   and if the insurance would protect him from losses. The email was forwarded with a message from Koo
 3   to Schatt. Koo wrote: “We received the below inquiry on Wednesday. I have talked this through with
 4   management and we feel in your best interest and ours, is that our name/logo be removed from your
 5   website [sic].” (emphasis added) Lockton did not express surprise that the Lockton/Cred Statements
 6   were used to solicit customers or that the Lockton logo was used, nor did Lockton indicate that it had
 7   made a previous request to Cred that the statements be removed.
 8           130.   Lockton’s last-minute effort to separate itself from Cred shows Lockton knew the
 9   Lockton/Cred Statements were false and any customer asking about Cred’s insurance coverage would
10   soon find the coverage was “immaterial.” Lockton’s last-minute effort to extricate itself from the
11   situation makes that clear. Koo, Coe, Arzu and Tokarz all knew that the Lockton/Cred Statements were
12   false, and that they were improperly being used to lure in customers like the Trust Assignors.
13        H. Cred Collapsed as a Result of Its D&Os’ Reckless, Fraudulent, and Self-Interested
             Conduct: Over $165 Million in Customer Claims Remained Unpaid
14
15           131.   A large part of Cred’s losses resulted from Cred lending money to moKredit, a Chinese
16   company related to Hua. Cred turned the crypto it borrowed from CredEarn customers into fiat currency
17   and lent it to moKredit, which made microloans. moKredit borrowed the money from Cred at an
18   extremely high interest rate. But even these rates did not account for the risk because moKredit’s
19   business activities were unacceptably risky and possibly illegitimate.29 Yet Cred made over $80 million
20   in loans to moKredit in 2019.
21           132.   moKredit never fully paid Cred for money it borrowed. After Cred filed for bankruptcy,
22   though communications with Hua continued, Cred could not obtain any meaningful information from
23   moKredit, such as loan tapes or other records. When a Cred representative tried to visit moKredit’s
24
25
     29
        moKredit extended microloans to gamers. However, it was clear when Cred started lending to
26   moKredit that the Chinese gaming industry was facing severe governmental restrictions and highly
27   uncertain prospects. In August 2018, the Chinese Ministry of Education, in response to a direct public
     order from the country’s paramount leader, announced plans to curb video-gaming activity by the
28   country’s children. The government enacted the next year strict limits on play time and how much
     money could be spent in game by Chinese children.

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 1   headquarters, it was inaccessible. Because moKredit was a Chinese entity, Cred could not exercise
 2   remedies.30
 3              133.    In 2020, Cred also used CredEarn funds for other “investments.” Cred assigned
 4   Alexander—unbeknownst to Cred, he was a convicted felon and a fugitive—the job of selecting
 5   investments for Cred. Alexander introduced Cred executives to a fraudulent investment vehicle called
 6   “QuantCoin.” Through a fraudulent administrator contact, Cred transferred 800 Bitcoin (“BTC”) to a
 7   wallet number allegedly owned by QuantCoin. When Cred asked to be repaid its investment, no
 8   repayment was made. Cred could not recover any value for this investment.
 9              134.    Alexander also misappropriated assets in April 2020, when he improperly transferred
10   approximately 225 BTC and 200 USDC to a crypto wallet. Alexander subsequently took control of the
11   funds himself. Cred recovered only a portion of these assets.
12              135.    The Examiner found that many factors contributed to Cred’s losses, including its failure
13   to (a) properly investigate asset managers; (b) maintain internal compliance policies; (c) conduct due
14   diligence on moKredit and the moKredit loans; (d) keep reliable records and statements for its trading
15   accounts; (e) reconcile accounts; and (f) maintain reliable books and records, among other things. As
16   noted above, the Examiner also described Cred’s misstatements about its insurance coverage.
17              136.    When Cred filed for Chapter 11 relief on November 7, 2020, its stated reasons for filing
18   were: (i) material losses incurred in connection with or as a result of the alleged misconduct of its
19   former Chief Capital Officer, James Alexander; (ii) the purported theft of certain cryptocurrency assets
20   in connection with a failed investment with QuantCoin; and (iii) the Debtors’ deployment of significant
21   assets with moKredit and the subsequent inability or unwillingness of moKredit to return those assets
22   to Cred pursuant to the terms of the parties’ agreement.31 The Trust, which took over the assets of the
23   Cred estate, has insufficient funds to repay any CredEarn customers on their claims.
24              137.    In sum, the Trust Assignors participated in CredEarn because they thought their losses
25   were insured. But they were not. The “comprehensive insurance” that promised to compensate
26
27   30
       Any remedies were unlikely to be capable of enforcement and would, at a minimum, be difficult and
     costly to attempt.
28
     31
          Examiner Report at 19.

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 1   customers if Cred did not perform as promised, to protect Cred in the case of the misconduct of its
 2   executive and employees, and to ensure that Cred would be paid if outside parties harmed its business
 3   provided almost no protection. The Trust Assignors did not receive their crypto back, much less interest
 4   Cred owed on it. Instead, they suffered damages caused by Lockton’s false statements it devised with
 5   Cred about its insurance.
 6                                     FIRST CLAIM FOR RELIEF
                                 FOR FRAUDULENT MISREPRESENTATION
 7
 8          138.    The Trustees re-allege the allegations set forth in the above paragraphs.
 9          139.    Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and
10   revising Lockton/Cred Statements.
11          140.    Lockton made the following false representations to the Trust Assignors, among others,
12   in the Lockton/Cred Statements:
13
           Cred is on a mission to dramatically improve that by working hard to secure the crypto lending
14          industry’s most comprehensive set of risk management, information security and insurance
            protections available. If the worst happens and Cred loses customer funds, customers deserve
15          certainty that they will be made whole.
           Let’s start with crypto insurance . . . . We wholeheartedly believe we have an obligation to take
16
            a leadership role to go beyond today’s status quo to obtain as many insurance and risk
17          management protections as possible.
           As a result, we are proud of the fact that Cred has some of the most comprehensive insurance
18          coverage spanning errors and omissions (E&O), Cyber and Regulatory claim coverage.
19         Why was Cred selected by underwriters for insurance coverage? Cred was evaluated against
            several criteria, including: Cred’s licensed and well documented business activities have helped
20          underwriters become comfortable offering coverage. . . . Cred has had the opportunity to share
            best practices with its partners and grow quickly as a crypto financial platform.
21
           Errors and Omissions Insurance. Errors and Omission or “E&O” refers to the financial services
22          industry’s version of professional liability insurance. This insurance comes in the event a
            customer or stakeholder holds Cred responsible for a service that it failed to provide or did not
23          have the promised results. These services include the borrowing of crypto from a client related
            to the terms and conditions of a Cred Agreement and the granting of business or consumer lines
24
            of credit against crypto assets.
25         Cred’s insurance policies cover product failure, meaning the inability of customers to access or
            otherwise utilize Cred’s intended service.
26         This comprehensive insurance coverage provided to Cred is a testament to the confidence
27          Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that has sound
            policies and procedures and adequate supervision. Underwriters review personnel experience,
28


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            independent third-party reports and conduct specific due diligence to make the policies
 1
            available to Cred.
 2
 3           141. The Trust Assignors read the Lockton/Cred Statements as directed by Cred’s website
 4   and through Medium.com. Portions of the Lockton/Cred Statements or their substantive equivalents
 5   were repeated to the Trust Assignors in emails, and telephone conversations as cited in Section F.
 6   above, Customers Relied on the False Statements. The representations in the Lockton/Cred Statements
 7   were also repeated in blogs, articles and by other means reviewed by the Trust Assignors. Lockton
 8   knew the Lockton/Cred Statements were intended to be read by CredEarn customers, including the
 9   Trust Assignors.
10          142.    Lockton made the Lockton/Cred Statements, which falsely represented the scope of
11   insurance coverage available to Trust Assignors in the event that their crypto loans suffered a loss.
12          143.    Lockton knew that the Lockton/Cred Statements were false when it was made and
13   disseminated to the public. Alternatively, Lockton made the Lockton/Cred Statements recklessly and
14   without regard for their truth.
15          144.    Lockton intended the Trust Assignors to rely upon the Lockton/Cred Statements when
16   deciding whether to enter into CredEarn program.
17          145.    The Trust Assignors reasonably relied on the Lockton/Cred Statements when they
18   decided to enter the CredEarn program.
19          146.    The Trust Assignors suffered damages as a proximate result of the Lockton/Cred
20   Statements because the promised insurance coverage was not available to customers to recoup their
21   losses when Cred was forced to file for bankruptcy protection.
22          147.    The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial factor
23   in causing their damages because had the insurance coverage promised in the Lockton/Cred Statements
24   been available, it would have covered their losses when Cred went into bankruptcy.
25          148.    As a result of Lockton’s fraud and misrepresentations against the Trust Assignors, the
26   Trust, acting through its Trustees, seeks compensatory, general and/or special damages in an amount
27   to be determined at trial, but in no event less than $66 million.
28


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                                     SECOND CLAIM FOR RELIEF
 1                                 FOR FRAUD IN THE INDUCEMENT
 2
            149.   The Trustees re-allege the allegations set forth in the above paragraphs.
 3
            150.   Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and
 4
     revising Lockton/Cred Statements.
 5
            151.   Lockton made the following false representations to the Trust Assignors, among others,
 6
     in the Lockton/Cred Statements:
 7
 8         Cred is on a mission to dramatically improve that by working hard to secure the crypto lending
            industry’s most comprehensive set of risk management, information security and insurance
 9          protections available. If the worst happens and Cred loses customer funds, customers deserve
            certainty that they will be made whole.
10
           Let’s start with crypto insurance . . . . We wholeheartedly believe we have an obligation to take
11          a leadership role to go beyond today’s status quo to obtain as many insurance and risk
            management protections as possible.
12         As a result, we are proud of the fact that Cred has some of the most comprehensive insurance
13          coverage spanning errors and omissions (E&O), Cyber and Regulatory claim coverage.
           Why was Cred selected by underwriters for insurance coverage? Cred was evaluated against
14          several criteria, including: Cred’s licensed and well documented business activities have helped
            underwriters become comfortable offering coverage. . . . Cred has had the opportunity to share
15          best practices with its partners and grow quickly as a crypto financial platform.
16         Errors and Omissions Insurance. Errors and Omission or “E&O” refers to the financial services
            industry’s version of professional liability insurance. This insurance comes in the event a
17          customer or stakeholder holds Cred responsible for a service that it failed to provide or did not
            have the promised results. These services include the borrowing of crypto from a client related
18
            to the terms and conditions of a Cred Agreement and the granting of business or consumer lines
19          of credit against crypto assets.
           Cred’s insurance policies cover product failure, meaning the inability of customers to access or
20          otherwise utilize Cred’s intended service.
21         This comprehensive insurance coverage provided to Cred is a testament to the confidence
            Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that has sound
22          policies and procedures and adequate supervision. Underwriters review personnel experience,
            independent third-party reports and conduct specific due diligence to make the policies
23          available to Cred.
24
25           152. The Trust Assignors read the Lockton/Cred Statements as directed by Cred’s website

26   and through Medium.com when deciding whether to sign the contracts to enter the CredEarn program.

27   Portions of the Lockton/Cred Statements or their substantive equivalents were repeated to the Trust

28   Assignors in emails, and telephone conversations as cited in Section F. above, Customers Relied on the


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 1   False Statements. The representations in the Lockton/Cred Statements were also repeated in blogs,
 2   articles and by other means reviewed by the Trust Assignors. Lockton knew the Lockton/Cred
 3   Statements were intended to be read by CredEarn customers, including the Trust Assignors.
 4          153.    Lockton made the Lockton/Cred Statements, which falsely represented the scope of
 5   insurance coverage available to Trust Assignors in the event that their crypto loans suffered a loss.
 6          154.    Lockton knew that the Lockton/Cred Statements were false when it was made and
 7   disseminated to the public. Alternatively, Lockton made the Lockton/Cred Statements recklessly and
 8   without regard for their truth.
 9          155.    Lockton intended the Trust Assignors to rely upon the Lockton/Cred Statements when
10   deciding whether to enter into CredEarn program.
11          156.    The Trust Assignors reasonably relied on the Lockton/Cred Statements when they
12   signed the necessary documentation to enter the CredEarn program.
13          157.    The Trust Assignors were fraudulently induced into making the crypto loans based on
14   the Lockton/Cred Statements.
15          158.    The Trust Assignors suffered damages as a proximate result of the Lockton/Cred
16   Statements because the promised insurance coverage was not available to customers to recoup their
17   losses when Cred was forced to file for bankruptcy protection.
18          159.    The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial factor
19   in causing their damages because had the insurance coverage promised in the Lockton/Cred Statements
20   been available, it would have covered their losses when Cred went into bankruptcy.
21          160.    As a result of Lockton’s inducing the Trust Assignors to enter into the CredEarn
22   agreement/program, the Trust, acting through its Trustees, seeks compensatory, general and/or special
23   damages in an amount to be determined at trial, but in no event less than $66 million.
24                                   THIRD CLAIM FOR RELIEF
                                FOR NEGLIGENT MISREPRESENTATION
25
26
            161.    The Trustees re-allege the allegations set forth in the above paragraphs.
27
            162.    Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and
28
     revising Lockton/Cred Statements.

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 1           163.   Lockton made the following false representations to the Trust Assignors in the
 2   published Lockton/Cred Statements, among others:
 3          Cred is on a mission to dramatically improve that by working hard to secure the crypto lending
             industry’s most comprehensive set of risk management, information security and insurance
 4
             protections available. If the worst happens and Cred loses customer funds, customers deserve
 5           certainty that they will be made whole.
            Let’s start with crypto insurance . . . . We wholeheartedly believe we have an obligation to take
 6           a leadership role to go beyond today’s status quo to obtain as many insurance and risk
 7           management protections as possible.
            As a result, we are proud of the fact that Cred has some of the most comprehensive insurance
 8           coverage spanning errors and omissions (E&O), Cyber and Regulatory claim coverage.
            Why was Cred selected by underwriters for insurance coverage? Cred was evaluated against
 9           several criteria, including: Cred’s licensed and well documented business activities have helped
10           underwriters become comfortable offering coverage. . . . Cred has had the opportunity to share
             best practices with its partners and grow quickly as a crypto financial platform.
11          Errors and Omissions Insurance. Errors and Omission or “E&O” refers to the financial services
             industry’s version of professional liability insurance. This insurance comes in the event a
12
             customer or stakeholder holds Cred responsible for a service that it failed to provide or did not
13           have the promised results. These services include the borrowing of crypto from a client related
             to the terms and conditions of a Cred Agreement and the granting of business or consumer lines
14           of credit against crypto assets.
15          Cred’s insurance policies cover product failure, meaning the inability of customers to access or
             otherwise utilize Cred’s intended service.
16          This comprehensive insurance coverage provided to Cred is a testament to the confidence
             Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that has sound
17           policies and procedures and adequate supervision. Underwriters review personnel experience,
18           independent third-party reports and conduct specific due diligence to make the policies
             available to Cred.
19
20           164. The Trust Assignors read the Lockton/Cred Statements as directed by Cred’s website

21   and through Medium.com. Portions of the Lockton/Cred Statements or their substantive equivalent

22   were repeated to the Trust Assignors in emails, and telephone conversations as cited in Section F.

23   above, Customers Relied on the False Statements. The representations in the Lockton/Cred Statements

24   were also repeated in blogs, articles and by other means reviewed by the Trust Assignors.

25           165. Lockton made the Lockton/Cred Statements which falsely represented the scope of

26   insurance coverage available to CredEarn customers in the event that their loan crypto loans suffered a

27   loss.

28


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 1          166.    Lockton had no reasonable grounds to believe that the Lockton/Cred Statements were
 2   true when they were made and disseminated to the public.
 3          167.    Lockton intended the Trust Assignors to rely upon the Lockton/Cred Statements when
 4   deciding whether to enter into CredEarn program.
 5          168.    The Trust Assignors reasonably relied on the Lockton/Cred Statements when they
 6   decided to enter the CredEarn program.
 7           169. The Trust Assignors suffered damages as a proximate result of the Lockton/Cred
 8   Statements because the promised insurance coverage was not available to customers to recoup their
 9   losses when Cred was forced to file for bankruptcy protection.
10          170.    The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial factor
11   in causing their damages because had the insurance coverage promised in the Lockton/Cred Statements
12   been available, it would have covered their losses when Cred went into bankruptcy.
13           171. As a result of Lockton’s misrepresentation against the Trust Assignors, the Trust seeks
14   compensatory, general and/or special damages in an amount to be determined at trial, but in no event
15   less than $66 million.
16                                  FOURTH CLAIM FOR RELIEF
                                  FOR INTENTIONAL CONCEALMENT
17
18          172.    The Trustees re-allege the allegations set forth in the above paragraphs.
19          173.    Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and
20   revising Lockton/Cred Statements.
21          174.    Lockton omitted material facts from the Lockton/Cred Statements:
22         Lockton/Cred concealed the fact that Cred had far from the most comprehensive set of risk
23          management, information security and insurance protections available. Cred hid the fact that its
            asset safeguards were severely deficient.
24         Lockton/Cred concealed the fact that CredEarn customers, including the Trust Assignors, could
            not be made whole through the insurance protection or any other protections of Cred.
25
           Lockton/Cred concealed the fact that Cred did not have as many insurance and risk management
26          protections as possible. Its insurance was minimal, and Cred had no crime insurance (like
            Gemini and Coinbase), and the other insurance it acquired was full of gaps in insurance due to
27          exclusions.
28         Lockton/Cred concealed glaring exceptions to errors and omissions (E&O), Directors and
            Officers (D&O), Cyber and Regulatory claim coverage together with the minimal coverage

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            amounts, and that Cred’s insurance coverage was not comprehensive since it only insured a tiny
 1
            fraction of losses.
 2         Lockton/Cred concealed the fact that one carrier had rejected Cred for its poor practices, and
            Cred had avoided the crime insurance process which rigorously scrutinized internal procedures.
 3         Lockton/Cred concealed the fact that CredEarn customers’ losses, including those of the Trust
 4          Assignors, were not covered by E&O insurance even though they resulted from Cred’s failure
            to provide results from the borrowing of crypto.
 5         Lockton/Cred concealed the fact that CredEarn customers losses, including those of the Trust
            Assignors, were not insured even if Cred did not return their crypto-a service Cred was intended
 6
            to provide.
 7         Lockton/Cred concealed the fact that Cred’s D&O insurance did not cover crypto and losses
            relating to actions of D&Os in which they personally benefitted.
 8
 9          175.    Lockton concealed the fact that Cred’s insurance was far from comprehensive insurance
10   and was not a testament to its sounds business practices, policies and procedures. Lockton concealed
11   the fact that Creds and its customers’ losses would not be insured by the policies that Cred in reality
12   had.
13          176.    The Trust Assignors did not know about the facts that Lockton concealed. The Trust
14   Assignors read the Lockton/Cred Statements as directed by Cred’s website and through Medium.com
15   which omitted critical information. Portions of the Lockton/Cred Statements or their substantive
16   equivalent were repeated to the Trust Assignors in emails, and telephone conversations as cited in
17   Section F. above, Customers Relied on the False Statements. The information conveyed likewise
18   omitted critical information.
19          177.    Lockton intended to defraud the Trust Assignors through its omissions.
20          178.    These omissions by Lockton are material because the Trust Assignors would not have
21   transacted with Cred through the CredEarn program had they known the true nature and extent of
22   Cred’s insurance coverage.
23          179.    Lockton facilitated Cred’s marketing and selling of the CredEarn program through its
24   participation in the drafting and dissemination of the Lockton/Cred Statements to the Trust Assignors,
25   even though Lockton knew the true nature of Cred’s insurance coverage.
26          180.    Lockton intended that customers such as the Trust Assignors would rely on
27   Lockton/Cred Statements regarding the safety of their crypto loans to Cred through CredEarn.
28


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 1          181.    The Trust Assignors reasonably relied on the material omissions in the Lockton/Cred
 2   Statements when they decided to enter the CredEarn program.
 3          182.    Lockton had an affirmative duty to disclose the true nature of Cred’s insurance coverage
 4   to the CredEarn customers such as the Trust Assignors, because (i) Lockton had a legal duty to correct
 5   false statements in the Lockton/Cred Statements that Lockton helped publish under Lockton’s logo,
 6   and (ii) as one of the world’s leading insurance brokers who worked with Cred in purchasing insurance
 7   coverage for Cred, in a superior position to know the true nature of Cred’s insurance coverage and it
 8   was foreseeable that the Trust Assignors would rely on the Lockton/Cred Statements.
 9          183.    Lockton fraudulently concealed the nature of Cred’s insurance coverage, prompting the
10   Trust Assignors to participate in CredEarn and causing damages to Trust Assignors.
11          184.    The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial factor
12   in causing their damages because had the insurance coverage promised in the Lockton/Cred Statements
13   been available, it would have covered their losses when Cred went into bankruptcy.
14          185.    As a result of Lockton’s knowing participation in Cred’s fraud, Trust Assignors have
15   suffered damages in an amount to be determined at trial, but in no event less than $66 million.
16                             FIFTH CLAIM FOR RELIEF
               FOR AIDING AND ABETTING FRAUDULENT MISREPRESENTATION
17
18          186.    The Trustees re-allege the allegations set forth in the above paragraphs.

19          187.    Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and

20   revising Lockton/Cred Statements.

21          188.    Cred made the following false representations to the Trust Assignors, among others in

22   the Lockton/Cred Statements:

23         Cred is on a mission to dramatically improve that by working hard to secure the crypto lending
            industry’s most comprehensive set of risk management, information security and insurance
24          protections available. If the worst happens and Cred loses customer funds, customers deserve
25          certainty that they will be made whole.
           Let’s start with crypto insurance . . . . We wholeheartedly believe we have an obligation to take
26          a leadership role to go beyond today’s status quo to obtain as many insurance and risk
            management protections as possible.
27         As a result, we are proud of the fact that Cred has some of the most comprehensive insurance
28          coverage spanning errors and omissions (E&O), Cyber and Regulatory claim coverage.


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           Why was Cred selected by underwriters for insurance coverage? Cred was evaluated against
 1
            several criteria, including: Cred’s licensed and well documented business activities have helped
 2          underwriters become comfortable offering coverage. . . . Cred has had the opportunity to share
            best practices with its partners and grow quickly as a crypto financial platform.
 3         Errors and Omissions Insurance. Errors and Omission or “E&O” refers to the financial services
 4          industry’s version of professional liability insurance. This insurance comes in the event a
            customer or stakeholder holds Cred responsible for a service that it failed to provide or did not
 5          have the promised results. These services include the borrowing of crypto from a client related
            to the terms and conditions of a Cred Agreement and the granting of business or consumer lines
 6          of credit against crypto assets.
 7         Cred’s insurance policies cover product failure, meaning the inability of customers to access or
            otherwise utilize Cred’s intended service.
 8         This comprehensive insurance coverage provided to Cred is a testament to the confidence
            Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that has sound
 9
            policies and procedures and adequate supervision. Underwriters review personnel experience,
10          independent third-party reports and conduct specific due diligence to make the policies
            available to Cred.
11
             189. The Trust Assignors read the Lockton/Cred Statements as directed by Cred’s website
12
     and through Medium.com, which bore the Lockton name and logo. Portions of the Lockton/Cred
13
     Statements or their substantive equivalent were repeated to the Trust Assignors in emails, and telephone
14
     conversations as cited in Section F. above, Customers Relied on the False Statements. The
15
     representations in the Lockton/Cred Statements were also repeated in blogs, articles and by other means
16
     reviewed by the Trust Assignors. Cred knew the Lockton/Cred Statements were intended to be read by
17
     CredEarn customers, including the Trust Assignors.
18
            190.    Cred made the Lockton/Cred Statements, which falsely represented the scope of
19
     insurance coverage available to Trust Assignors in the event that their crypto loans suffered a loss.
20
            191.    Cred knew that the Lockton/Cred Statement was false when it was made and
21
     disseminated to the public. Alternatively, Cred made the Lockton/Cred Statement recklessly and
22
     without regard for their truth.
23
            192.    Lockton knew that Cred made the false Lockton/Cred Statements were false when it
24
     was made and disseminated to the public.
25
            193.    Cred intended the Trust Assignors to rely upon the Lockton/Cred Statements when
26
     deciding whether to enter into CredEarn program.
27
28


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 1          194.    Lockton intended the Trust Assignors to rely upon the Lockton/Cred Statements when
 2   deciding whether to enter into CredEarn program.
 3          195.    Cred knew the Lockton/Cred Statements would be and was in fact used to convince the
 4   Trust Assignors to participate in CredEarn.
 5          196.    Lockton knew the Lockton/Cred Statements would be and was in fact used to convince
 6   the Trust Assignors to participate in CredEarn.
 7          197.    The Trust Assignors reasonably relied on the Lockton/Cred Statements when they
 8   decided to enter the CredEarn program.
 9          198.    The Trust Assignors suffered damages as a proximate result of the Lockton/Cred
10   Statements because the promised insurance coverage was not available to customers to recoup their
11   losses when Cred was forced to file for bankruptcy protection.
12          199.    Lockton substantially assisted and/or encouraged Cred’s fraud by drafting the
13   Lockton/Cred Statements and by permitting the prestige of its name as a leader in the insurance industry
14   to be associated with the Lockton/Cred Statements.
15       200. The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial
16   factor in causing their damages because had the insurance coverage promised in the Lockton/Cred
17   Statements been available, it would have covered their losses when Cred went into bankruptcy.
18          201.    As a result of Lockton’s knowing participation in Cred’s fraud, the Trust Assignors
19   suffered damages in an amount to be determined at trial, but in no event less than $66 million.
20                              SIXTH CLAIM FOR RELIEF
                FOR AIDING AND ABETTING NEGLIGENT MISREPRESENTATION
21
22          202.    The Trustees re-allege the allegations set forth in the above paragraphs.
23          203.    Lockton, a crypto insurance broker expert, worked closely with Cred in drafting and
24   revising Lockton/Cred Statements.
25          204.    Cred made the following false representations to the Trust Assignors, among others in
26   the Lockton/Cred Statements:
27         Cred is on a mission to dramatically improve that by working hard to secure the crypto lending
28          industry’s most comprehensive set of risk management, information security and insurance


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            protections available. If the worst happens and Cred loses customer funds, customers deserve
 1
            certainty that they will be made whole.
 2         Let’s start with crypto insurance . . . . We wholeheartedly believe we have an obligation to take
            a leadership role to go beyond today’s status quo to obtain as many insurance and risk
 3          management protections as possible.
 4         As a result, we are proud of the fact that Cred has some of the most comprehensive insurance
            coverage spanning errors and omissions (E&O), Cyber and Regulatory claim coverage.
 5         Why was Cred selected by underwriters for insurance coverage? Cred was evaluated against
            several criteria, including: Cred’s licensed and well documented business activities have helped
 6
            underwriters become comfortable offering coverage. . . . Cred has had the opportunity to share
 7          best practices with its partners and grow quickly as a crypto financial platform.
           Errors and Omissions Insurance. Errors and Omission or “E&O” refers to the financial services
 8          industry’s version of professional liability insurance. This insurance comes in the event a
            customer or stakeholder holds Cred responsible for a service that it failed to provide or did not
 9
            have the promised results. These services include the borrowing of crypto from a client related
10          to the terms and conditions of a Cred Agreement and the granting of business or consumer lines
            of credit against crypto assets.
11         Cred’s insurance policies cover product failure, meaning the inability of customers to access or
12          otherwise utilize Cred’s intended service.
           This comprehensive insurance coverage provided to Cred is a testament to the confidence
13          Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that has sound
            policies and procedures and adequate supervision. Underwriters review personnel experience,
14
            independent third-party reports and conduct specific due diligence to make the policies
15          available to Cred.

16
             205. The Trust Assignors read the Lockton/Cred Statements as directed by Cred’s website
17
     and through Medium.com, which bore the Lockton name and logo. Portions of the Lockton/Cred
18
     Statements or their substantive equivalent were repeated to the Trust Assignors in emails, and telephone
19
     conversations as cited in Section F. above, Customers Relied on the False Statements. The
20
     representations in the Lockton/Cred Statements were also repeated in blogs, articles and by other means
21
     reviewed by the Trust Assignors. Cred knew the Lockton/Cred Statements were intended to be read by
22
     CredEarn customers, including the Trust Assignors.
23
            206.    Cred made the Lockton/Cred Statements, which falsely represented the scope of
24
     insurance coverage available to Trust Assignors if their crypto loans suffered a loss.
25
            207.    Cred had no reasonable grounds to believe that the Lockton/Cred Statement was true
26
     when it was made and disseminated to the public.
27
            208.    Cred intended the Trust Assignors to rely upon the Lockton/Cred Statements when
28
     deciding whether to enter into CredEarn program.

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                                          SECOND AMENDED COMPLAINT
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 1          209.    Lockton intended the Trust Assignors to rely upon the Lockton/Cred Statements when
 2   deciding whether to enter into CredEarn program.
 3          210.    Cred knew the Lockton/Cred Statements would be and was in fact used to convince the
 4   Trust Assignors to participate in CredEarn.
 5          211.    Lockton knew the Lockton/Cred Statements would be and was in fact used to convince
 6   the Trust Assignors to participate in CredEarn.
 7          212.    The Trust Assignors reasonably relied on the Lockton/Cred Statements when they
 8   decided to enter the CredEarn program.
 9          213.    The Trust Assignors suffered damages as a proximate result of the Lockton/Cred
10   Statements because the promised insurance coverage was not available to customers to recoup their
11   losses when Cred was forced to file for bankruptcy protection.
12          214.    Lockton substantially assisted and/or encouraged Cred’s misrepresentation by drafting
13   the Lockton/Cred Statements and by permitting the prestige of its name as a leader in the insurance
14   industry to be associated with the Lockton/Cred Statements.
15          215.    The Trust Assignors’ reliance on the Lockton/Cred Statements was a substantial factor
16   in causing their damages because had the insurance coverage promised in the Lockton/Cred Statements
17   been available, it would have covered their losses when Cred went into bankruptcy.
18          216.    As a result of Lockton’s knowing participation in Cred’s misrepresentation, the Trust
19   Assignors suffered damages in an amount to be determined at trial, but in no event less than $66 million.
                                     SEVENTH CLAIM FOR RELIEF
20
       AIDING AND ABETTING VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION
21                  LAW, CAL. BUS. AND PROFESSIONS CODE, § 17200 ET. SEQ

22          217.    The Trustees re-allege the allegations set forth in the above paragraphs.
23          218.    California’s Unfair Competition Law (“UCL”) prohibits and creates a right of action
24   arising from any unlawful, unfair, or deceptive business practice. Cred’s creation and dissemination of
25   the Lockton/Cred Statements, as alleged herein, in connection with the sale and marketing of the
26   CredEarn program, with a false and/or deceptive representation concerning the scope of insurance
27   coverage available to Cred customers, amounts to an unlawful business practice and, hence, violated
28


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 1   the UCL. In the alternative, it amounts to a deceptive business practice and hence violated the UCL.
 2   As a second alternative, it amounts to an unfair practice and thus violated the UCL.
 3          219.       Moreover, because of Cred’s unlawful, fraudulently deceptive, and unfair business
 4   practices, CredEarn customers, including the Trust Assignors, conveyed money and benefits to Cred.
 5          220.       Lockton knew that Cred’s conduct violated the UCL.
 6          221.       Lockton substantially assisted and/or encouraged Cred’s unlawful and deceptive
 7   business practice by writing the Lockton/Cred Statements and by permitting the prestige of its name as
 8   a leader in the insurance industry to be associated with the Lockton/Cred Statements. The Trustees are
 9   entitled to and do seek an order of restitution compelling Lockton to turn over to the Trust Assignors
10   the amount of the crypto transferred to Cred or its value of no less than $66 million.
11                                       DEMAND FOR A JURY TRIAL
12          222.       The Trustees hereby demand a jury trial as to all claims so triable.
13                                            PRAYER FOR RELIEF
14          WHEREFORE, the Trustees request judgment against Lockton as follows:
15              (i)       Awarding monetary damages in the amount of crypto the Trust Assignors were
16                        induced to loan based on false statements or omissions proven at trial;
17              (ii)      Awarding pre-judgment interest in accordance with the Trust Assignors’ CredEarn
18                        agreement or at the maximum rate allowable by law and/or equity;
19              (iii)     Awarding statutory, exemplary, treble, and/or punitive damages and/or penalties to
20                        the extent permissible by applicable law; and
21              (iv)      Awarding reasonable attorney’s fees and costs to the extent permissible by
22                        applicable law.
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 1   Dated: June 12, 2023
 2                                             REID COLLINS & TSAI LLP
 3                                             ____/s/ Angela J. Somers_______________
                                               Angela J. Somers (admitted pro hac vice)
 4                                             Jeffrey E. Gross (admitted pro hac vice)
                                               Minyao Wang (admitted pro hac vice)
 5                                             420 Lexington Avenue, Suite 2731
                                               New York, NY 10170
 6                                             Telephone: (212) 344-5200
                                               Facsimile: (212) 344-5299
 7                                             Email: asomers@reidcollins.com
                                               jgross@reidcollins.com
 8                                             mwang@reidcollins.com
 9                                             -   and -
10                                             Craig C. Daniel (State Bar No. 212588)
                                               GLUCK DANIEL ATKINSON LLP
11                                             201 Mission Street, Suite 1330
                                               San Francisco, CA 94104
12                                             Telephone: (415) 510-2509
                                               Email: litigation@gluckdaniel.com
13
14
                                               Special Litigation Counsel to Trustees of
15                                             the Cred Inc Liquidation Trust

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                                  SECOND AMENDED COMPLAINT
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            EXHIBIT 1
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Going Above and Beyond
Dan Schatt, Co-Founder and President of
Cred

At Cred, we love to geek out on the dry stuff -- security, compliance, risk
management, regulatory matters. We also care immensely about the company we
keep -- the partners and vendors we work with to keep our customers safe. Our
customers, employees, friends and family members trust their digital assets with Cred
and everyone who works for Cred feels an enormous sense of accountability and
responsibility to ensure customer assets are well protected during the entire lending
and borrowing lifecycle. Many of us worked together at PayPal and felt the
same enormous sense of responsibility tomensure we built a product that our own
families would use.

Crypto is still the wild west when it comes to many of the fundamental safeguards
most of us have come to expect when it comes to safeguarding your assets. Cred
is on a mission to change that by working to provide the industry’s most comprehensive
set of risk management, information security and insurance protections available. If the
worst happens mand Cred loses customer funds, customers deserve certainty that they
will be made whole.

Let’s start with crypto insurance. Cred works with custodial partners that extend
insurance to client assets, but we believe it is not enough to simply leverage the
insurance of custodial partners. We are serious about protecting client assets and
wholeheartedly believe we have an obligation to take a leadership role to go
beyond today’s status quo to obtain as many insurance and risk management
protections as possible for our crypto community. We hope this will spur more
crypto lenders and borrowers to dedicate the time and resources to do the same.

Cred’s search for comprehensive insurance started with a review of the very
best insurance brokers that have significant experience with Crypto and
financial services underwriting. How does one choose the very best crypto
insurance? It starts with the very best insurance broker. Cred narrowed its
selection criteria to the top 10 insurance brokers in the world, and chose Lockton,
the world’s largest privately owned, independent insurance brokerage firm in
the world with 52,000 clients and ranked #1 in Client satisfaction for commercial
insurance by J.D. Power.

We selected Lockton in part due to their competency in crypto, cybercrime and
financial services. Through Lockton, Cred narrowed its selection to ‘A’ rated
insurance companies, known for strong financial reserves, claims payment history,
business focus, and company structure. We reviewed ratings from AM Best, a global
credit rating agency with a unique focus on the insurance industry. Best's Ratings,
which are issued through A.M. Best Rating Services, Inc., are a recognized indicator of
insurer financial strength and creditworthiness. Cred ultimately selected one of the
largest underwriters in the world, with over 100 years of experience and active in about
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half the countries around the globe, and received a minimum coverage of two
million dollars. As a result, we are proud of the fact that Cred has some of the most
comprehensive insurance policies of any crypto financial services platform,
spanning errors and omissions (E&O), Directors and Officers (D&O), Cyber and
Regulatory claim coverage -- even Cred’s LBA token has coverage.

First, it’s important to know that insurance is a two-way street. It’s just as difficult to be
selected for coverage, as it is to select an underwriter. Why was Cred selected
by underwriters for insurance coverage? Cred was evaluated against several criteria,
including:

     Financial Condition. Underwriters typically require a company’s audited
financial statements in order to determine its financial health. Cred has secured
hundreds of millions of dollars of lending capital, and is supported by the largest crypto
exchanges in the world. Underwriters also evaluated Cred’s strong financial statements,
resulting from making its product and utility tokens available to thousands of customers
across over a hundred countries.

     Business activities. Insurance underwriters have historically viewed crypto
financial services as a nascentand highly risky industry full of bad actors. Cred’s
licensed and well documented business activities have helped underwriters become
comfortable offering coverage. Cred activities include association with a list of highly
reputable strategic partners that range from traditional fortune 500 companies to leading
digital money platforms and stablecoin providers. As a founding member of an Alliance
of top tier blockchain companies including Brave, Bittrex, Blockchain at Berkeley,
CertiK, Cred has had the the opportunity to share best practices with its partners and
grow quickly as a crypto financial platform. Cred’s business practices have also
received high praise from Uphold and Cred is now working with the California Assembly
to support the introduction of new blockchain legislation.

    Quality of management and industry experience. Insurers care immensely
about the qualifications and professional experience of a company’s executive
team. Cred’s team has been reviewed by underwriters, regulators, auditors and
partners and we believe our executive team stands out for its depth of experience in
blockchain, financial technology, lending and capital markets. Cred’s executives come
from PayPal, Blockchain at Berkeley, Goldman Sachs, Prosper, Tradeshift and several
companies known for having a high bar for talent and deep experience handling
customer funds. Cred has been cited for its management expertise by Binance Labs,
Tron, Bitcoin.com to name a few.

     Regulatory and Compliance history. Underwriters look for evidence of good
compliance policy, as do regulators, and as a California based company, Cred is a
licensed lender, operating in a majority of US states. Cred has never run afoul of any
regulatory requirement and frequently engages with regulators proactively.
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Cyber Insurance

One of Cred’s priority areas of insurance has been cyber insurance, since security
and protection of client funds is and will remain priority #1. Cred’s cyber policy
insures against theft of digital currency that results from a security breach or hack,
employee theft, or fraudulent transfer. Cred’s comprehensive cyber policy
coverage areas include breach of its network security, various network controls,
cyber extortion, data recovery costs, ransomware, foresensics, reputational
harm, and business interruption resulting from security breaches or system failures.
In addition, Cred’s coverage extends to denial of service attacks which prevent
authorized third parties from accessing its website, unauthorized access or
unauthorized use of Cred’s Network systems. This also covers fraud resulting
from security breaches resulting from social engineering fraud. Every coverage
area is important and we believe it is particularly critical to focus on cultural
awareness training related to privacy, data security and social engineering. In
fact,believe this so much, we’ve financially supported our employees to pursue
advanced degrees at prominent institutions offering cyber security degrees.

Regulatory Insurance

Cred also has coverage associated with liability to third parties for privacy breaches
and computer system security breaches. System security liability coverage is
important as it supports Cred’s ability address cyber attacks on Cred’s computer
system or the computer system of a third party operated on behalf of Cred. Cred
also has coverage associated with the costs to investigate and respond to such
breach events. These include things like forensic investigation costs and costs to
notify affected individuals. Cred also devotes significant time and resources to
support user advocacy with proactive notifications.

Cred’s underwriters also extended coverage to cover the costs of data privacy
notification which also includes coverage of PCI fines, expenses and costs and
claims brought by any regulatory or administrative agency or bureau or any
other quasi governmental or self regulatory entity. Cred’s partners take comfort in
these policies, knowing that those claims are generally brought by individuals and
companies whose information has been compromised, by regulators and
sometimes law enforcement entities.

Errors and Omissions Insurance

Errors and Omission or “E&O” refers to the financial services industry’s version of
professional liability insurance. This insurance comes in the event a customer or
stakeholder holds Cred responsible for a service that it failed to provide or did not have
the promised results. These services include the borrowing of crypto from a client
related to the terms and conditions of a Cred Agreement and the granting of business or
consumer lines of credit against crypto assets.
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Cred’s insurance policies cover product failure, meaning the inability of customers to
access or otherwise utilize Cred’s intended service. The coverage also extends to the
LBA token, fiat currencies, viruses or any malicious code, script, worm, Trojan horse or
similar software intentionally designed to enter or insert itself into a computer memory or
storage media and spread itself from one computer to another. The policy also extends
to any wrongful act or product failure in the rendering of Cred’s professional services.

This comprehensive insurance coverage provided to Cred is a testament to the
confidence Cred’s underwriters have in Cred’s ability to demonstrate to financial
regulators that it can demonstrate sound policies and procedures and adequate
supervision. Underwriters review personnel experience, independent third
party reports and conduct specific due diligence to determine if they will make
these policies available to companies such as Cred.

Directors and Officers Insurance

D&O Insurance came about in the 1930’s following the Wall Street crash of 1929 and
the introduction of US securities laws in 1933 and 1934. The purpose of this
insurance is to cover claims that may arise from actual or alleged “wrongful acts”
when acting in the scope of their managerial duties. Cred’s D&O Insurance
coverage is a testament to the level of comfort that its underwriters have with the
appropriate actions that the management takes in the course of executing Cred’s
business.

Cred avoids risky lending segments

Cred lends on a fully collateralized and guaranteed basis and Cred does not lend to
short sellers. Lenders supplying crypto to shorts are undercollateralized and always
have credit exposure to potentially volatile investment managers. All companies
receiving loans from Cred have strong, well-established track records and proven cash
flows. All crypto participation in Cred is fully hedged.

Protection Does Not Stop Here

Cred’s interest in protecting its customers extends to how its encrypts its data, the
compliance and security vendors we choose to work with and how we architect
our systems. If you have any questions about Cred and its commitment to security,
compliance and insurance, please do not hesitate to connect with Cred at
info@mycred.io or support@mycred.io and we will be happy to discuss Cred.

Thank you for your trust in Cred. We intend to earn your trust everyday.
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            EXHIBIT 3
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Crypto Insurance: Going Above and Beyond
  web.archive.org/web/20201001082401/https://mycred.io/blog/crypto-insurance/

                                                                                October 16, 2019




At Cred, we love to geek out on the dry stuff security, compliance, risk management, legal,
and regulatory matters. We also care immensely about the company we keep the partners
and vendors we work with to keep our customers safe. Many of us worked together at
PayPal and felt the same responsibility to ensure we built a product that our own families
would use.

Crypto is still in many ways the wild west when it comes to the fundamental safeguards most
of us have come to expect when ensuring the protection of financial assets. Cred is on a
mission to dramatically improve that by working hard to secure a comprehensive set of risk
management, information security and insurance protections available. If the worst happens
and Cred loses customer funds, customers deserve certainty that they will be made whole.


Let’s start with crypto insurance.
Cred works with custodial partners that extend insurance, but we believe it is not enough to
simply leverage the insurance of custodial partners. We wholeheartedly believe we have an
obligation to take a leadership role to go beyond today’s status quo to obtain as many
insurance and risk management protections as possible. We hope this will spur more crypto
lenders and borrowers to dedicate the time and resources to do the same.




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Cred’s search for comprehensive insurance started with a review of the reputable insurance
brokers that have significant experience with crypto and financial services underwriting. How
does one choose crypto-insurance? It starts with the insurance broker. Cred narrowed its
selection criteria to the top 10 insurance brokers in the world, and chose Lockton, the world’s
largest privately-owned, independent insurance brokerage firm in the world with 52,000
clients and ranked #1 in Client satisfaction for commercial insurance by J.D. Power.

We selected Lockton in part due to their competency in crypto, cybercrime and financial
services. Through Lockton, Cred narrowed its selection to ‘A’ rated insurance companies,
known for strong financial reserves, claims payment history, business focus, and company
structure. We reviewed ratings from AM Best, a global credit rating agency with a unique
focus on the insurance industry. Best’s Ratings, which are issued through A.M. Best Rating
Services, Inc., are a recognized indicator of insurer financial strength and creditworthiness.
Cred ultimately selected one of the largest underwriters in the world, with over 100 years of
experience and active in about half the countries around the globe. As a result, we are proud
of the fact that Cred has comprehensive insurance coverage, spanning errors and omissions
(E&O), Cyber and Regulatory claim coverage.


How did Cred secure asset insurance?
First, it’s important to know that it’s just as difficult to be selected for coverage as it is to
select an insurance underwriter. Why was Cred selected by underwriters for insurance
coverage?

Cred was evaluated against several criteria, including:

      Business activities. Insurance underwriters have historically viewed crypto financial
      services as a nascent and highly risky industry full of bad actors. Cred’s licensed and
      well-documented business activities have helped underwriters become comfortable
      offering coverage. Cred activities include association with a list of highly reputable
      strategic partners that range from traditional fortune 500 companies to leading digital
      money platforms, crypto exchanges, and stablecoin providers. As a founding member
      of an Alliance of top tier blockchain companies including Brave, Bittrex, Blockchain at
      Berkeley, and CertiK, Cred has had the opportunity to share best practices with its
      partners and grow quickly as a crypto-financial platform. Cred’s business practices
      have also received high praise from Uphold and Cred is now working with the
      California Assembly to support the introduction of new blockchain legislation.




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     Quality of management and industry experience. Insurers care immensely about
     the qualifications and professional experience of a company’s executive team. Cred’s
     team has been reviewed by underwriters, regulators, auditors, and partners. Our
     executive team stands out for its depth of experience in blockchain, financial
     technology, lending, and capital markets. Cred’s leaders come from PayPal, Blockchain
     at Berkeley, Goldman Sachs, Prosper, Tradeshift and several companies who are
     known for having a high bar for talent and deep experience handling customer funds.
     Cred has been cited for its management expertise by Binance Labs, Tron, Bitcoin.com
     to name a few.
     Regulatory and Compliance history. Underwriters look for evidence of good compliance
     policy, as do regulators, and as a California based company, Cred is a licensed lender,
     operating in a majority of US states. Cred has never run afoul of any regulatory
     requirement and frequently engages with regulators proactively.

Cyber Insurance
One of Cred’s priority areas is cyber insurance. Security and protection of client funds will
remain our top priority. Cred’s comprehensive cyber policy covers network security failure,
cyber extortion, data recovery costs, ransomware, forensics, reputational harm, business
interruption, and system failure. We believe it is particularly critical to focus on employee
training related to privacy and data security and we’ve financially supported our employees
to pursue advanced degrees in Cybersecurity Strategy and Information Management, the
same content offered to homeland security officials and private sector security specialists.

Cred’s insurance coverage extends to privacy breaches and computer system security
breaches. Cred also devotes significant time and resources to support user education.
Cred’s policy also covers privacy notifications and claims brought by any regulatory or
administrative agency.

Cred’s underwriters also extended coverage to cover the costs of data privacy notification
which also includes coverage of PCI fines, expenses, and costs and claims brought by any
regulatory or administrative agency or bureau or any other quasi-governmental or self-
regulatory entity. Cred’s partners take comfort in these policies, knowing that those claims
are generally brought by individuals and companies whose information has been
compromised, by regulators and sometimes law enforcement entities.


Errors and Omissions Insurance
Errors and Omission or E&O refers to the financial services industry’s version of professional
liability insurance. This insurance comes in the event a customer or stakeholder holds Cred
responsible for a service that it failed to provide or did not have the promised results. These




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services include the borrowing of crypto from a client related to the terms and conditions of a
Cred Agreement and the granting of business or consumer lines of credit against crypto
assets.

Cred’s insurance policies cover product failure, meaning the inability of customers to access
or otherwise utilize Cred’s intended service. The coverage also extends to the LBA token, fiat
currencies, viruses or any malicious code, script, worm, Trojan horse or similar software
intentionally designed to enter or insert itself into computer memory or storage media and
spread itself from one computer to another. The policy also extends to any wrongful act or
product failure in the rendering of Cred’s professional services.

This comprehensive insurance coverage provided to Cred is a testament to the confidence
Cred’s underwriters have in Cred’s ability to demonstrate to financial regulators that it has
sound policies and procedures and adequate supervision. Underwriters reviewed personnel
experience, independent third-party reports and conducted specific due diligence to make
the policies available to Cred.

Cred avoids risky lending segments
All companies receiving loans from Cred have strong, well-established track records and
proven cash flows. Cred’s lending portfolio is diversified across the US, Europe, and Asia
and crypto assets are hedged to manage market volatility. Cred does not lend to short
sellers. We believe this an important point since short-sellers work against the interests of
Cred’s Earn customers, who are holding their crypto assets with the expectation of long-term
appreciation. In addition, crypto short-sellers tend to be under-collateralized and generally
have significant credit exposure.

Protection Does Not Stop Here
Cred’s interest in protecting its customers extends to how it encrypts its data, the compliance
and security vendors Cred chooses to work with and the architecture of our systems. If you
have any questions about Cred and its commitment to security, compliance and risk
management, please do not hesitate to connect with Cred at [email protected] and a member
of Cred will be happy to discuss.

Thank you for your trust in Cred. We intend to earn your trust every day.

Disclaimer: CredEarn is the trade name for a service offered to non-US persons by Cred
LLC, which is an entity distinct and separate from Cred (US) LLC. CredEarn allows you to
extend a loan to Cred LLC. The purpose of the loan is to allow you to earn an enhanced yield
on your crypto assets, such as Bitcoin. Cred LLC is not a bank and CredEarn services are
not insured by the FDIC. CredBorrow and C-LOC™ are trade names for lending products of
Cred (US) LLC, a licensed lender and a wholly-owned subsidiary of Cred LLC. Loans, loan


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amounts, terms, and rates are not available in every jurisdiction, or for every collateral type.
The availability of rates, crypto types, loan amounts, and other terms are subject to change.
Loan applicants are subject to AML and KYC screening. Terms, conditions, and restrictions
apply. Loans made or arranged pursuant to California Finance Lenders Law License 60DBO
- 91480.




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